Case: 1:17-md-02804-DAP Doc #: 1978-8 Filed: 07/24/19 1 of 262. PageID #: 228945




                               EXHIBIT 
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further2 of 262. PageID #: 228946
                                                      Confidentiality      Review

     1               IN THE UNITED STATES DISTRICT COURT

                      FOR THE NORTHERN DISTRICT OF OHIO

     2                          EASTERN DIVISION

     3

     4    In re:    NATIONAL PRESCRIPTION      )    CASE NO.

          OPIATE LITIGATION                    )    1:17-MD-2804

     5                                         )

          APPLIES TO ALL CASES                 )    Hon. Dan A. Polster

     6

     7            HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER

                           CONFIDENTIALITY REVIEW

     8

     9                    DEPOSITION FOR PLAINTIFF

    10

    11

    12                          ***    ***    ***

    13    DEPONENT:            SHAUNA HELFRICH

    14    DATE:                JANUARY 10, 2019

    15                          ***    ***    ***

    16

    17

    18

    19

    20

    21

    22

    23

    24

    25

   Golkow Litigation Services                                             Page 1
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further3 of 262. PageID #: 228947
                                                      Confidentiality      Review

     1                         EXAMINATION INDEX
     2    Examination by Mr. Goetz..........................            8
          Examination by Mr. Delinsky....................... 242
     3    Re-examination by Mr. Goetz....................... 249
          Reporter's Certificate............................ 257
     4
     5                           EXHIBIT INDEX
     6    CVS-Helfrich-2....................................           56
          IRR, 8-30-13                        CVS-MDLT1-10672-757
     7                                        Highly Confidential
     8    CVS-Helfrich-3.................................... 100
          Email chain                              CVS-MDLT1-83064
     9                                                Confidential
    10    CVS-Helfrich-4.................................... 100
          SOM Process                              CVS-MDLT1-83065
    11                                                Confidential
    12    CVS-Helfrich-5...................................            79
          Time study                            CVS-MDLT1-112702
    13                                               Confidential
    14    CVS-Helfrich-6...................................            83
          LP Analyst Time Study                 CVS-MDLT1-112686
    15                                              Confidential
    16    CVS-Helfrich-7...................................            85
          LP Analyst Time Study                 CVS-MDLT1-112690
    17                                               Confidential
    18    CVS-Helfrich-8...................................            90
          LP Analyst Time Study                 CVS-MDLT1-112698
    19                                              Confidential
    20    CVS-Helfrich-9...................................          205
          Controlled Drug-DEA SOP Manual           CVS-MDLT1-8506
    21                                               Confidential
    22    CVS-Helfrich-10................................... 166
          Email chain,                       CVS-MDLT1-88516
    23                                                Confidential
    24
    25

   Golkow Litigation Services                                               Page 2
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further4 of 262. PageID #: 228948
                                                      Confidentiality      Review

     1                    EXHIBIT INDEX - Continued
     2    CVS-Helfrich-12................................... 172
          Email chain,                             CVS-MDLT1-31518
     3                                               Confidential
     4    CVS-Helfrich-13................................... 109
          Order sheets                             CVS-MDLT1-10268
     5                                        Highly Confidential
     6    CVS-Helfrich-14................................... 130
          Chart Title, Series 1                    CVS-MDLT1-10235
     7
     8    CVS-Helfrich-18...................................           37
          INCB statistics 2012
     9
    10    CVS-Helfrich-19...................................           39
          Publication: 2012 Ohio Drug Overdose Deaths
    11
    12    CVS-Helfrich-20...................................           51
          NVSS graph, U.S. Rates of Opioid Overdose Deaths,
    13          Sales and Treatment Admissions, 1999-2010
    14    CVS-Helfrich-21................................... 216
          Notice of Inspection of Controlled Premises
    15    CVS-MDLT1-10522                      Highly confidential
    16    CVS-Helfrich-23................................... 235
          Suspicious Order Monitoring Report update
    17                                                 confidential
    18    CVS-Helfrich-24................................... 235
          Logistics Planning Update, 9-15-14
    19    CVS-MDLT1-19836                      Highly Confidential
    20    CVS-Helfrich-25................................... 216
          DEA Visit 8/5 - 8/8 2013 - Notes
    21    CVS-MDLT1-61230                      Highly Confidential
    22    CVS-Helfrich-26................................... 217
          Email chain                               CVS-MDLT1-409
    23                                         Highly Confidential
    24    CVS-Helfrich-27................................... 232
          Email chain                               CVS-MDLT1-76135
    25                                         Highly Confidential

   Golkow Litigation Services                                               Page 3
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further5 of 262. PageID #: 228949
                                                      Confidentiality      Review

     1                    EXHIBIT INDEX - Continued
     2    CVS-Helfrich-29................................... 233
          DEA correspondence                        CVS-MDLT1-8014
     3                                         Highly Confidential
     4    CVS-Helfrich-30................................... 237
          Email chain                               CVS-MDLT1-8016
     5                                         Highly Confidential
     6    CVS-Helfrich-31....................................
          Email                                     CVS-MDLT1-22284
     7                                         Highly Confidential
     8    CVS-Helfrich-33................................... 113
          Track One CVS Store Information CVS-MDLT1-7362
     9                                              Confidential
    10    CVS-Helfrich-34...................................           68
          Irregular Order - Logistics Communication
    11    CVS-MDLT1-3346                        Highly Confidential
    12    CVS-Helfrich-35................................... 146
          Email chain                               CVS-MDLT1-8496
    13    Highly Confidential - Protected Health Information
    14    CVS-Helfrich-36................................... 179
          List I Chemicals and Control Drug Policy/Procedure
    15    CVS-MDLT1-25018                             Confidential
    16    CVS-Helfrich-37................................... 119
          Irregular Order - Logistics Communication
    17    CVS-MDLT1-3348                      Highly Confidential
    18    CVS-Helfrich-38................................... 120
          Email chain                               CVS-MDLT1-8483
    19    Highly Confidential - Protected Health Information
    20    CVS-Helfrich-41................................... 254
          Email                                  CVS-MDLT1-118312
    21                                              Confidential
    22    CVS-Helfrich-43................................... 254
          Fulfillment Check Register
    23
    24
    25

   Golkow Litigation Services                                               Page 4
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further6 of 262. PageID #: 228950
                                                      Confidentiality      Review

     1    A P P E A R A N C E S
     2
     3    FOR THE PLAINTIFF:         DANIEL GOETZ, Esquire
                                     BRIAN ROOF, Esquire
     4                               Weisman, Kennedy & Berris Co., L.P.A.
                                     101 West Prospect Street
     5                               Cleveland, Ohio 44115
                                     216-781-1111
     6                               dgoetz@weismanlaw.com
                                     broof@weismanlaw.com
     7
     8    Via speakerphone:          MICHAEL ELSNER, Esquire
                                     KAITLYN EEKHOFF, Esquire
     9                               AMANDA UNTERREINER, Esquire
                                     Motley Rice, LLC
    10                               28 Bridgeside Boulevard
                                     Mount Pleasant South Carolina
    11                                                      29464
                                     843-216-9250
    12                               843-216-9210
                                     843-216-9493
    13                               melsner@motleyrice.com
                                     keekhoff@motleyrice.com
    14                               aunterreiner@motleyrice.com
    15
    16    FOR THE DEFENDANT:         ERIC DELINSKY, Esquire
          CVS entities               Zuckerman Spaeder, LLP
    17                               Suite 1000
                                     1800 M Street
    18                               Washington, DC 20036
                                     202-778-1800
    19                               edelinsky@zuckerman.com
    20
    21    FOR THE DEFENDANT:         SARAH HARMON, Esquire
          Cardinal Health            Armstrong Teasdale, LLP
    22                               Suite 1800
                                     7700 Forsyth Boulevard
    23                               St. Louis, Missouri 63105
                                     314-552-6672
    24                               sharmon@ArmstrongTeasdale.com
    25

   Golkow Litigation Services                                             Page 5
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further7 of 262. PageID #: 228951
                                                      Confidentiality      Review

     1                     APPEARANCES - Continued
     2
     3    FOR THE DEFENDANT:         JAMES PETKUN, Esquire
          AmerisourceBergen          Reed Smith, LLP
     4    via speakerphone           Three Logan Square
                                     Suite 3100
     5                               1717 Arch Street
                                     Philadelphia, PA     19103
     6                               215-851-8204
                                     jpetkun@reedsmith.com
     7
     8    FOR THE DEFENDANT:         ANGELA VICARI, Esquire
          Endo & Par entities        Arnold & Porter Kaye Scholer, LLP
     9    via speakerphone           250 West 55th Street
                                     New York, New York     10019
    10                               212-836-7408
                                     angela.vicari@arnoldporter.com
    11
    12    FOR THE DEFENDANT:         PATRICK DUBOIS, Esquire
          Walmart                    Jones Day
    13    via speakerphone           77 West Wacker Street
                                     Chicago, Illinois     60601
    14                               312-269-4251
                                     pdubois@jonesday.com
    15
    16    ALSO PRESENT:        Ben Stanson, videographer
                                     Jon Knowles, technologist
    17
    18
    19
    20
    21
    22
    23
    24
    25

   Golkow Litigation Services                                             Page 6
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further8 of 262. PageID #: 228952
                                                      Confidentiality      Review

     1              The deposition of SHAUNA HELFRICH taken on

     2    discovery, pursuant to Notice heretofore filed, in the

     3    Latitude Room, 2nd Floor, of Le Meridien Indianapolis,

     4    123 South Illinois Street, Indianapolis, Indiana, on

     5    January 10, 2019, at approximately 8:22 a.m.; upon

     6    oral examination, and to be used in accordance with

     7    the Federal Rules of Civil Procedures.

     8

     9                           *      *       *

    10

    11              THE VIDEOGRAPHER:       We are now on the record.

    12    My name is Ben Stanson.      I'm a videographer for Golkow

    13    Litigations Services.      Today's date is January 10,

    14    2018, and the time is 8:22 a.m.

    15              This video deposition is being held in

    16    Indianapolis, Indiana, in the matter of National

    17    Prescription Opioid Litigation, MDL No. 2084 pending

    18    in the United States District Court for the eastern

    19    district of Ohio.

    20              The witness is Shauna Helfrich.

    21              Counsel, please identify yourselves for the

    22    record?

    23              MR. GOETZ:    Dan Goetz on behalf of

    24    plaintiffs.

    25              MR. ROOF:    Brian Roof on behalf of

   Golkow Litigation Services                                             Page 7
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1978-8 Filed:
                               Subject   to 07/24/19
                                             Further9 of 262. PageID #: 228953
                                                      Confidentiality      Review

     1    plaintiffs.

     2               MS. HARMON:     Sarah Harmon for Cardinal

     3    Health.

     4               MR. DELINSKY:     Eric Delinsky, Zuckerman

     5    Spaeder on behalf CVS Indiana, LLC; CVS Rx Services,

     6    Inc, and on behalf of Ms. Helfrich as well.

     7               THE VIDEOGRAPHER:       The court reporter is Kim

     8    Keene.

     9               Will you please swear in the witness?

    10

    11                           *       *       *

    12               SHAUNA HELFRICH, after having first been duly

    13    administered an oath, testified as follows:

    14                           *       *       *

    15

    16                             EXAMINATION

    17    BY MR. GOETZ:

    18          Q.   And am I pronouncing your name correctly?

    19    Helfrich?

    20          A.   Uh-huh.

    21          Q.   When did you come to work for CVS?

    22          A.   I can't recall the exact date.       Possibly in

    23    October, the end of October, I believe.

    24          Q.   Of what year?

    25          A.   Of 2012.

   Golkow Litigation Services                                             Page 8
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 10 Confidentiality
                                                         of 262. PageID #: 228954
                                                                              Review

      1           Q.   And when you started at the end of October of

      2    2012, who was your employer?

      3           A.   CVS Pharmacy, Indianapolis.

      4           Q.   Is that the name of the company you worked

      5    for?

      6           A.   Yes.

      7           Q.   Is that the name of the company you currently

      8    work for?

      9           A.   I believe so, yes.

     10                (CVS-Helfrich-43 was marked for

     11    identification.)

     12           Q.   Okay.   I'm going to hand you Exhibit 43.        We

     13    are not actually putting these up on the screen.

     14                Throughout the day as we hand you exhibits,

     15    if you want to look, the exhibits will actually go up

     16    on the screen, but these were not -- that's for the

     17    jury to see.       These aren't really necessary.

     18           A.   Okay.

     19           Q.   Does this refresh your recollection of when

     20    you came to work for CVS?

     21           A.   I can't really recall.     It has -- has the

     22    date of 11-16, so...

     23           Q.   That was your first paycheck from CVS --

     24           A.   Okay.

     25           Q.   -- correct, according to the records?

   Golkow Litigation Services                                                Page 9
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 11 Confidentiality
                                                         of 262. PageID #: 228955
                                                                              Review

      1           A.   Yeah.

      2           Q.   Okay.   And these actually reflect your time

      3    records, I believe, and your payment through

      4    9-19-2014.

      5           A.   Yes.

      6           Q.   Okay.   As you look at them, do they seem

      7    generally accurate?

      8           A.   Uh-huh.

      9                MR. DELINSKY:    Object to form.

     10           A.   That I -- I cannot say.

     11           Q.   Do you have any reason to dispute that the

     12    hours shown are wrong?

     13                MR. DELINSKY:    Object to form.

     14           A.   I can't really -- I -- see -- I really can't

     15    say.    I don't -- I don't have my records.

     16           Q.   Well, you can put that aside.       We will move

     17    on.

     18                If we have time, we will come back to that.

     19                Who is Frank Helfrich?

     20           A.   My father.

     21           Q.   And what does Frank Helfrich do?

     22           A.   He is logistics ops manager.

     23           Q.   For -- for whom?

     24           A.   CVS dis...

     25           Q.   How long has he been --

   Golkow Litigation Services                                               Page 10
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 12 Confidentiality
                                                         of 262. PageID #: 228956
                                                                              Review

      1               MR. DELINSKY:     I'm sorry, Dan.     I just want

      2    to make sure.      Shauna's voice is a little -- is quiet,

      3    so -- you said CVS?

      4          A.   Distribution center.

      5          Q.   Okay.   Is that the same place you work?

      6          A.   Yes.

      7          Q.   Okay.   That's the same place that you went to

      8    work in 2012 and -- is that correct?

      9          A.   Yes.

     10          Q.   Is that how you got your job?        Through your

     11    father?

     12          A.   No.    He informed me that there was an

     13    opening, but my application and everything was pulled

     14    by their HR department.

     15          Q.   Okay.   What is your educational background?

     16          A.   I have a high school diploma.

     17          Q.   When?

     18          A.   20 -- 2003.

     19          Q.   2003.

     20               And after high school, do you have any other

     21    college, any training, any other training?

     22          A.   No.

     23          Q.   And after high school, graduating high

     24    school, where did you go to work?

     25          A.   Right after -- out of high school, I worked

   Golkow Litigation Services                                               Page 11
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 13 Confidentiality
                                                         of 262. PageID #: 228957
                                                                              Review

      1    at a law firm.

      2          Q.   For how long?

      3          A.   I can't -- the exact, I want to say maybe

      4    about seven years or so.

      5          Q.   Till around 2010?

      6          A.   Yeah.   I think so.

      7          Q.   Okay.

      8          A.   I'm not sure.

      9          Q.   What did you do after that?

     10          A.   I moved to Florida.

     11          Q.   You moved to Florida?

     12          A.   Uh-huh.

     13          Q.   And you did what in Florida?

     14          A.   I volunteered at a wildlife refuge.

     15          Q.   How long did do you that?

     16          A.   Florida?     Maybe only a couple of years,

     17    maybe.     I don't -- I can't recall how long I was -- I

     18    know it wasn't for very long I was there.

     19          Q.   Okay.   In between working at a law firm and

     20    coming to CVS in either October or November of 2012,

     21    did you do anything other than volunteer at a wildlife

     22    refuge?

     23          A.   No.

     24          Q.   What did you do at the wildlife refuge?

     25          A.   Fostered and took care of animals.

   Golkow Litigation Services                                               Page 12
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 14 Confidentiality
                                                         of 262. PageID #: 228958
                                                                              Review

      1          Q.   And what did you do at the law firm for seven

      2    years?

      3          A.   I was a legal assistant.

      4          Q.   Meaning what?

      5          A.   I helped prepare correspondence and emails

      6    and other documentation.

      7          Q.   For what type of practice?

      8          A.   Corporate.

      9          Q.   There was no regulatory aspect to your legal

     10    assisting, was there?

     11               MR. DELINSKY:     Object to the form.

     12          A.   What are you saying?

     13          Q.   Did you work with the Controlled Substances

     14    Act as part of your work at the law firm?

     15          A.   No.

     16          Q.   Okay.   Did you work with anything related to

     17    the DEA as part of your work at the law firm?

     18          A.   Not that I can recall.

     19          Q.   When you came to CVS in October or November

     20    of 2012, what was your title?

     21          A.   I was an RX picker.

     22          Q.   What is that?

     23          A.   You work in the RX department and you pick

     24    the orders.

     25          Q.   How long were you an RX picker?

   Golkow Litigation Services                                               Page 13
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 15 Confidentiality
                                                         of 262. PageID #: 228959
                                                                              Review

      1           A.   I do not know how long I was classified as an

      2    RX picker.

      3           Q.   So, how long did you pick orders?

      4           A.   Honestly, I can't -- I don't -- I don't

      5    really know and -- the exact dates, possibly 2013.            I

      6    was continuously picking.       I can't exactly remember

      7    the exact dates in which I stopped picking and went to

      8    SOM.

      9                MR. DELINSKY:    And you'll hear that a lot.

     10    That's S-O-M.

     11           Q.   And when you had a -- when you went to SOM,

     12    can you give me a period?       Was it the fall of 2013?

     13    The winter of 2013?

     14           A.   When I went to SOM full-time?       Maybe -- maybe

     15    fall, I don't -- I honestly, I don't know the exact

     16    dates.

     17           Q.   When you say "maybe fall," are we talking

     18    about October of 2013?

     19                Do you have any idea?

     20           A.   I have no idea.

     21           Q.   When you went to SOM, did you go full-time?

     22           A.   No.   I -- I was help -- I would help out here

     23    and there with SOM from when I started, whenever they

     24    needed help, I would help.

     25           Q.   When you went -- you started part-time,

   Golkow Litigation Services                                                Page 14
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 16 Confidentiality
                                                         of 262. PageID #: 228960
                                                                              Review

      1    correct?

      2           A.   Yes.

      3           Q.   When you went full-time, were you in SOM or

      4    were you a picker?

      5           A.   When my -- are you asking when my status

      6    changed from a part-time associate to a full-time

      7    associate?

      8           Q.   Yes.

      9           A.   That, I do not know.     I don't -- I don't know

     10    if I was -- if I went full-time for SOM or if I went

     11    full-time before SOM.

     12           Q.   Well, as a picker, can you tell me what you

     13    did?

     14           A.   We had a -- you would pick up an order, and

     15    you would go through the bays and pick the product and

     16    put it in the tote.

     17           Q.   You said the base?

     18           A.   The bays.

     19           Q.   The bays?

     20           A.   There are bays.

     21           Q.   What were you picking?

     22           A.   That I'm -- I -- I don't know.       I know it

     23    wasn't the controlled substances.         They were --

     24    because it wasn't in the cage.        I'm not for sure

     25    exactly.

   Golkow Litigation Services                                               Page 15
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 17 Confidentiality
                                                         of 262. PageID #: 228961
                                                                              Review

      1          Q.   Did you ever work in the cage?

      2          A.   No.

      3          Q.   So you never ever were a picker for

      4    controlled substances?

      5          A.   No.

      6          Q.   When you were a picker, which we don't know

      7    the time period, did you have a chance to visualize

      8    the cage?

      9               MR. DELINSKY:     Object to the form.

     10          A.   To see the cage?

     11          Q.   Yeah.

     12          A.   I was in the RX department.

     13          Q.   You were in the RX department?

     14          A.   Yeah.   The cage is within the RX

     15    department.

     16          Q.   Okay.   And in that period, how big was that

     17    cage?

     18          A.   That I do not re -- I don't -- I don't really

     19    know.

     20          Q.   Can you give me an estimate?

     21          A.   I really -- I can't.

     22          Q.   How many bays were in the cage?

     23          A.   That I -- I don't know.       I was not in the

     24    cage, so...

     25          Q.   Do you know who was in the cage --

   Golkow Litigation Services                                               Page 16
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 18 Confidentiality
                                                         of 262. PageID #: 228962
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 17
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 19 Confidentiality
                                                         of 262. PageID #: 228963
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 18
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 20 Confidentiality
                                                         of 262. PageID #: 228964
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 19
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 21 Confidentiality
                                                         of 262. PageID #: 228965
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 20
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 22 Confidentiality
                                                         of 262. PageID #: 228966
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 21
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 23 Confidentiality
                                                         of 262. PageID #: 228967
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 22
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 24 Confidentiality
                                                         of 262. PageID #: 228968
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 23
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 25 Confidentiality
                                                         of 262. PageID #: 228969
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 24
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 26 Confidentiality
                                                         of 262. PageID #: 228970
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 25
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 27 Confidentiality
                                                         of 262. PageID #: 228971
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 26
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 28 Confidentiality
                                                         of 262. PageID #: 228972
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 27
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 29 Confidentiality
                                                         of 262. PageID #: 228973
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 28
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 30 Confidentiality
                                                         of 262. PageID #: 228974
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19           Q.   You ultimately became the SOM manager, didn't

     20    you?

     21           A.   No.

     22           Q.   No?   Did you replace the SOM manager?

     23           A.   No.

     24           Q.   No?

     25

   Golkow Litigation Services                                               Page 29
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 31 Confidentiality
                                                         of 262. PageID #: 228975
                                                                              Review

      1               (CVS-Helfrich-41 was marked for

      2    identification.)

      3               I'm going to show you Exhibit 41.

      4               MR. DELINSKY:     I would like to take a break.

      5    Can we do it now?      Is that okay?

      6               MR. GOETZ:    Now is fine.

      7               MR. DELINSKY:     Thank you.

      8               THE VIDEOGRAPHER:     We are off the record at

      9    9:02 a.m.

     10               (There was a brief recess.)

     11               THE VIDEOGRAPHER:     We are back on the record

     12    at 9:10 a.m.

     13    BY MR. GOETZ:

     14          Q.   Ms. Helfrich, when you earlier were saying

     15    Aaron, you were speaking of Aaron Burtner; is that

     16    correct?

     17          A.   Yes.

     18          Q.   Yes?

     19          A.   Yes.

     20          Q.   Okay.   And there came a point in time when

     21    Aaron Burtner left, correct?

     22          A.   Yes.

     23          Q.   Do you know when that was?

     24          A.   I do not recall.     I don't -- I don't

     25    remember.

   Golkow Litigation Services                                               Page 30
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 32 Confidentiality
                                                         of 262. PageID #: 228976
                                                                              Review

      1          Q.   Okay.   When Mr. Burtner was working in the

      2    SOM at CVS Indiana, you were assisting him, correct?

      3          A.   Yes.

      4          Q.   Was there anybody else working in that

      5    department at that time?

      6               MR. DELINSKY:     Object to the form.

      7               THE WITNESS:    Kelly Baker.     I believe, I

      8    can't -- he was there.       Gary Millikan helped

      9    periodically when needed.

     10               I can't exactly recall.       Let me see.    I'm not

     11    for certain if pharma compliance came on board at that

     12    time or not.

     13          Q.   Do you know when Kelly Baker left the CVS

     14    Indiana distribution center?

     15          A.   That, I do not remember.

     16          Q.   Can you give me a guess?

     17          A.   Guessing?    Maybe possibly later in 2013,

     18    maybe like the later -- maybe December.

     19          Q.   And when Mr. Burtner left, they went to

     20    pharma compliance for somebody to run the SOM; is that

     21    correct?

     22               MR. DELINSKY:     Object to form.

     23               THE WITNESS:    I can't -- I can't remember

     24    when they came on.      I don't know.     I can't remember if

     25    it was -- it may have been after Aaron left.

   Golkow Litigation Services                                               Page 31
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 33 Confidentiality
                                                         of 262. PageID #: 228977
                                                                              Review

      1          Q.   When Kelly Baker was at the CVS Indiana, was

      2    it your understanding that he was the SOM manager?

      3               MR. DELINSKY:     Object to form.

      4               THE WITNESS:    I have -- I have no idea if he

      5    was ever given that position.        Me, personally, I

      6    thought he was still an analyst.

      7          Q.   Okay.   I'm handing you what has been marked

      8    as CVS-Helfrich-41.      It starts at Bates No. CVS118312.

      9               That is an email that I do not believe you

     10    were copied on.     I could -- I'm sorry.       I'm wrong.

     11    You are copied on it.

     12               Do you know who John Mortelliti is?

     13          A.   I've heard of the name, but no.

     14          Q.   John Mortelliti, in the first sentence at the

     15    top, do you see that?      What he says?

     16               MR. DELINSKY:     Ms. Helfrich, do you need to

     17    read that?

     18               THE WITNESS:    Yes.

     19    BY MR. GOETZ:

     20          Q.   Ms. Helfrich, you are more than welcome to

     21    read the email, but I promise you, to the extent I'm

     22    asking you questions, I'll point it out.

     23               If you want to read the whole email, that's

     24    fine.

     25          A.   Okay.

   Golkow Litigation Services                                               Page 32
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 34 Confidentiality
                                                         of 262. PageID #: 228978
                                                                              Review

      1          Q.   That first sentence, tell me if I'm reading

      2    this correctly, it says, "Shauna is replacing our SOM

      3    manager and is responsible for DEA compliance."

      4               I had earlier asked you if you were the SOM

      5    manager ever, and you said, "No."

      6          A.   Correct.

      7          Q.   Were you not informed of this?

      8          A.   I honestly -- to my understanding, I was an

      9    analyst.    I -- I can't really comment what John

     10    Mortelliti was referencing or -- but to my knowledge,

     11    I was -- I was a SOM analyst.

     12          Q.   Okay.   Were you ever told you were

     13    responsible for DEA compliance?

     14          A.   No.

     15          Q.   No?

     16               Could you go back to the second page of that

     17    document, please?

     18               And it says -- there is an email from Pam

     19    Hinkle that says, tell me if I'm reading it correctly,

     20    "Novistor is Viper that no longer functional and is

     21    probably why it was denied."

     22               Do you know when Viper became no longer

     23    functional?

     24          A.   I do not.

     25          Q.   You had been looking for, according to the

   Golkow Litigation Services                                               Page 33
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 35 Confidentiality
                                                         of 262. PageID #: 228979
                                                                              Review

      1    email down below, Viper access for months as of

      2    November of '13, correct?

      3               MR. DELINSKY:     Object to form.

      4               THE WITNESS:    According to Bill Klenotic,

      5    that's what it reads.

      6          Q.   Do you remember that?

      7          A.   I -- I can't ever really recall, as far as I

      8    remember, needing that access.

      9          Q.   So you don't recall ever needing to access

     10    Viper?

     11               MR. DELINSKY:     Object to form.

     12               THE WITNESS:    No.   I recall not having that

     13    access.    It was -- it's been -- I just can't recall

     14    not having access to a program that I needed.

     15          Q.   So am I correct, I just want to make sure

     16    that I understand your testimony:         You don't have an

     17    independent memory of this, but you -- to your

     18    knowledge, everything you thought you needed, you had

     19    access to?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:    Yes, reading this email, I

     22    believe I had access to what I needed when I needed

     23    it.

     24          Q.   You were copied on this email, correct, on

     25    November 6 of '13?

   Golkow Litigation Services                                               Page 34
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 36 Confidentiality
                                                         of 262. PageID #: 228980
                                                                              Review

      1          A.   Yes.

      2          Q.   And according to this email string, you never

      3    responded, correct?

      4          A.   No.

      5          Q.   That's correct?

      6          A.   Yes.

      7          Q.   So you never responded and said, "I don't

      8    need access.      I have everything I need," correct?

      9          A.   I never responded.

     10          Q.   When you started at CVS, we spoke a little

     11    bit about your training.

     12               Were you aware of the opioid epidemic?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:    I can't exactly recall what I

     15    knew back then, but I know that there were drugs that

     16    could be abused and diverted.

     17               But an epidemic, I don't necessarily think

     18    I'm actually qualified to establish whether there was

     19    an epidemic or not.      But, I mean, I knew there were

     20    drugs that were abused.

     21          Q.   When you went to work in the SOM at CVS, the

     22    Suspicious Order Monitoring, were you aware that you

     23    were going to be monitoring hydrocodone combination

     24    products which are an opioid?

     25               MR. DELINSKY:     Object to form.

   Golkow Litigation Services                                               Page 35
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 37 Confidentiality
                                                         of 262. PageID #: 228981
                                                                              Review

      1               THE WITNESS:    When I worked for SOM, I knew

      2    there was going to be, yes, various drugs that I would

      3    monitor; hydro being one of them.

      4          Q.   Okay.   And were you aware of an epidemic

      5    surrounding hydro or HCPs?

      6               MR. DELINSKY:     Object to form.

      7               THE WITNESS:    I knew they could be abused.        I

      8    don't think I can really comment on epidemic.

      9          Q.   Did anybody at CVS, when you were at the --

     10    in the SOM department, tell you that there was an

     11    epidemic of hydrocodone combination products?

     12          A.   Not that I can remember.

     13          Q.   Okay.   You never got any training surrounding

     14    the prevalence of hydrocodone combination products?

     15               MR. DELINSKY:     Object to form.

     16               THE WITNESS:    Not that I can remember.

     17          Q.   Did anybody ever tell you that your role in

     18    the Suspicious Order Monitoring Program would be

     19    critical as it relates to hydrocodone combination

     20    products?

     21               MR. DELINSKY:     Object to form.

     22               THE WITNESS:    I don't remember that exactly

     23    being said.    I mean, I know they voiced how important

     24    SOM was.

     25          Q.   How did they voice it?

   Golkow Litigation Services                                               Page 36
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 38 Confidentiality
                                                         of 262. PageID #: 228982
                                                                              Review

      1          A.   Well, I can remember possibly what the SOM --

      2    what SOM was for and how important that was.

      3          Q.   What was SOM for, as you said?

      4          A.   SOM was for monitoring potentially suspicious

      5    orders.

      6          Q.   Suspicious orders of what?

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:    Potentially suspicious

      9    orders.

     10          Q.   Of what?

     11          A.   That were -- that hit our IRR.

     12          Q.   Okay.   I don't fully follow you, but I think

     13    we'll figure it out later.

     14               (CVS-Helfrich-18 was marked for

     15    identification.)

     16          Q.   I'm showing you Helfrich-18.        These are

     17    statistics from the United States Drug Enforcement

     18    Administration.

     19               Do you see the first bullet point?

     20          A.   Yes.

     21          Q.   And could you read that, please?

     22               MR. DELINSKY:     Object to form.

     23               THE WITNESS:    "The US was the country with

     24    the highest consumption of hydrocodone.          Approximately

     25    45.5 tons or 99 percent of global consumption."

   Golkow Litigation Services                                               Page 37
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 39 Confidentiality
                                                         of 262. PageID #: 228983
                                                                              Review

      1          Q.   That was the drug you were monitoring as part

      2    of SOM, correct?

      3               MR. DELINSKY:     Object to form.

      4               THE WITNESS:    Yes.

      5          Q.   Okay.   And no one ever told you that the US

      6    consumed 99 percent of the hydrocodone in the United

      7    States, did they?

      8          A.   No.

      9          Q.   Okay.   Do you think that would have been

     10    helpful to know?

     11          A.   I don't -- I know my job was to review orders

     12    to the best of my ability thorough.         I would presume

     13    if this was something that I needed to know, I would

     14    have been -- I would have been informed.

     15          Q.   Okay.   You have that much faith in CVS?

     16          A.   I have that much faith in what I did.

     17          Q.   But you said you would have been informed had

     18    you needed to know?

     19          A.   Uh-huh.

     20          Q.   Who would have informed you?

     21          A.   That, I do not know.

     22          Q.   Somebody at CVS would have informed you?

     23          A.   I would presume so.

     24          Q.   Somebody at CVS never told you, you were

     25    responsible for DEA compliance, did they?

   Golkow Litigation Services                                               Page 38
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 40 Confidentiality
                                                         of 262. PageID #: 228984
                                                                              Review

      1               MR. DELINSKY:     Object to form.

      2               THE WITNESS:    From what I can recall, no.

      3          Q.   Okay.   So somebody at CVS never told you that

      4    you were the SOM manager, did they?

      5               MR. DELINSKY:     Object to form.

      6               THE WITNESS:    From what I can recall, no.

      7               (CVS-Helfrich-19 was marked for

      8    identification.)

      9          Q.   I'm handing you what has been marked as

     10    Exhibit 19.

     11               CVS Indiana, your distribution center,

     12    delivered HCPs.

     13               Do you know what I'm talking about when I say

     14    HCPs?

     15               MR. DELINSKY:     Object to form.

     16               THE WITNESS:    Hydrocodone?

     17          Q.   Combination products?

     18          A.   Yes.

     19          Q.   Okay.   And you are aware that's an opioid?

     20          A.   Yeah.

     21          Q.   Okay.   CVS Indiana distribution center that

     22    you worked at, are you aware that they delivered HCPs

     23    to Ohio?

     24          A.   During?

     25               MR. DELINSKY:     Object to form.

   Golkow Litigation Services                                               Page 39
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 41 Confidentiality
                                                         of 262. PageID #: 228985
                                                                              Review

      1           Q.   While you were there.

      2           A.   While I was --

      3           Q.   Yeah.

      4           A.   -- doing SOM?

      5                MR. DELINSKY:    I object to the form of the

      6    question.

      7                You may answer, Ms. Helfrich.

      8                MR. GOETZ:   I'm not sure -- can you tell me

      9    why?    I mean, I'm asking her if she is aware if while

     10    she was at CVS Indiana, they were directing HCPs to

     11    Ohio.

     12                MR. DELINSKY:    Okay.   And the form of

     13    objection is that CVS -- the distribution center in

     14    Indiana, on behalf of CVS, distributed to CVS

     15    pharmacies.     It didn't distribute to Ohio at large.

     16                That was the basis of my objection.

     17    BY MR. GOETZ:

     18           Q.   Do you understand what I was asking you?

     19                Did you understand that I was asking you if

     20    the distribution center you worked at in Indiana,

     21    whether -- when I said they distributed to Ohio, that

     22    I was speaking about Ohio CVS pharmacies?

     23           A.   Yes.

     24           Q.   And, in fact, let's be fair, the CVS

     25    distribution center in Indiana only distributed to CVS

   Golkow Litigation Services                                               Page 40
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 42 Confidentiality
                                                         of 262. PageID #: 228986
                                                                              Review

      1    pharmacies?

      2           A.   I believe so.

      3           Q.   Okay.   Now, when you were at the distribution

      4    center in Indiana in the Suspicious Order Monitoring

      5    Program, they distributed hydrocodone combination

      6    products to CVS pharmacies in Ohio.

      7                Are you aware of that?

      8           A.   At the time doing SOM, I can't exactly recall

      9    whether I did or not.

     10           Q.   You don't remember that they were

     11    distributing to Ohio, as you sit here today?

     12                You don't have that memory?

     13                MR. DELINSKY:    Object to form.     You can

     14    answer, Ms. Helfrich.

     15                THE WITNESS:    I don't really know what -- who

     16    or where Indiana DC delivers.

     17           Q.   Okay.   Are you aware that they were

     18    delivering hydrocodone combination products to CVS

     19    pharmacies in Cuyahoga and Summit County?

     20           A.   I -- I don't remember.

     21           Q.   And part of the reason you don't remember

     22    might be because when you were reviewing IRRs, you

     23    were reviewing IRRs for the entire country, weren't

     24    you?

     25                MR. DELINSKY:    Object to form.

   Golkow Litigation Services                                               Page 41
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 43 Confidentiality
                                                         of 262. PageID #: 228987
                                                                              Review

      1               THE WITNESS:    For all of our DCs, for -- I

      2    can't exactly recall.

      3               At some point in 2014, they started going

      4    over to the new system, so it wasn't the whole time.

      5          Q.   Before they migrated to the new system in

      6    2014, while you were there at CVS Indiana, they were

      7    reviewing the Item Review Reports for all 11

      8    distribution centers in the United States?

      9               MR. DELINSKY:     Object to form.

     10               THE WITNESS:    I believe so, yes.

     11          Q.   Okay.   Are you aware that this first trial

     12    involves two of the largest counties in Ohio?

     13          A.   No.

     14          Q.   Okay.   So you have no knowledge that this

     15    first trial involves two of the largest counties in

     16    Ohio that have been decimated by the opioid crisis?

     17               MR. DELINSKY:     Object.

     18    BY MR. GOETZ:

     19          Q.   Are you aware of that?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:    I'm not for certain that the --

     22    the two counties or -- I'm not familiar with how

     23    they're affected.

     24          Q.   Are you aware how the state was affected by

     25    the opioid crisis?

   Golkow Litigation Services                                               Page 42
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 44 Confidentiality
                                                         of 262. PageID #: 228988
                                                                              Review

      1           A.   No.

      2           Q.   Okay.   Could you read the first paragraph,

      3    please, where it begins, "Drug overdose deaths..."?

      4           A.   "Unintentional drug overdose" --

      5           Q.   No, I apologize.      First paragraph.

      6           A.   "Drug overdose deaths continue to be a public

      7    health crisis in Ohio with a 366 percent increase in

      8    the number of deaths from 2000 to 2012."

      9           Q.   Were you aware of that when you were doing

     10    SOM?

     11                MR. DELINSKY:    Object to form.

     12                THE WITNESS:    I don't know, no.

     13           Q.   Can you read the second bullet point that

     14    begins with "In 2012..."?

     15           A.   "In 2012, five Ohioans died every day from

     16    unintentional drug overdose or one every five hours."

     17           Q.   If those statistics hold today, while we are

     18    here today, two Ohioans will die from drug overdose.

     19                Were you aware of those statistics when you

     20    were doing SOM?

     21                MR. DELINSKY:    Object to form.

     22                THE WITNESS:    No.

     23           Q.   Okay.   Could you read the bullet point that

     24    begins "Opioids" and then the open paren?

     25           A.   "Opioids, prescription or heroin, remain the

   Golkow Litigation Services                                               Page 43
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 45 Confidentiality
                                                         of 262. PageID #: 228989
                                                                              Review

      1    driving factor behind the unintentional drug overdose

      2    epidemic in Ohio.      Approximately two-thirds or 1,272,

      3    66.5 percent, of the drug overdoses involved any

      4    opioid in 2012 similar to 2011, 1,154 or 65 percent."

      5          Q.   Were you aware of that statistic?

      6               MR. DELINSKY:     Object to form.

      7               THE WITNESS:    No.

      8          Q.   Okay.    Can you read the next bullet point,

      9    just the first paragraph -- first sentence?

     10          A.   "Prescription opioids are involved in most of

     11    the unintentional drug overdoses and have largely

     12    driven the rise in deaths over the past decade."

     13          Q.   Were you aware of that statistic?

     14          A.   No.

     15          Q.   Okay.    When we talk about SOM, Suspicious

     16    Order Monitoring, sounds pretty generic, right, pretty

     17    benign?

     18               MR. DELINSKY:     Object to form.

     19               THE WITNESS:    Meaning to some who don't know

     20    what it is?

     21          Q.   Right.

     22               But the whole point of a Suspicious Order

     23    Monitoring Program was to monitor diversion, not ship

     24    potentially suspicious orders.

     25               Do you agree?

   Golkow Litigation Services                                               Page 44
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 46 Confidentiality
                                                         of 262. PageID #: 228990
                                                                              Review

      1               MR. DELINSKY:     Object to form.

      2               THE WITNESS:    To -- yeah, potentially

      3    suspicious.

      4          Q.   Correct.

      5               It was -- the whole point of SOM was so that

      6    we don't end up with this, correct?

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:    That, I am -- that, I really I

      9    can't comment on.      I know SOM was there to help to --

     10    one of the -- one tool to prevent diversion.

     11               But I know what I did.

     12               MR. DELINSKY:     Are you done?

     13               THE WITNESS:    Yes.

     14          Q.   These statistics are a result of diversion.

     15               Do you disagree with that?

     16               MR. DELINSKY:     Object to form.

     17               THE WITNESS:    I -- I'm just now seeing this

     18    document for the first time.        I don't -- I don't know

     19    where this came from, who had written it.

     20               Their analysis.

     21          Q.   Do you see the bottom?      Sorry for

     22    interrupting.

     23          A.   Yes.

     24          Q.   Do you see where that came from?

     25          A.   Yes.

   Golkow Litigation Services                                               Page 45
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 47 Confidentiality
                                                         of 262. PageID #: 228991
                                                                              Review

      1          Q.   Do you dispute the accuracy of this

      2    document?

      3               MR. DELINSKY:     Object to form.

      4               THE WITNESS:    I don't know the background

      5    information.    I don't -- I just -- I can't really

      6    comment on how they came about their -- their

      7    findings.

      8          Q.   If true, it is a shocking document, isn't it?

      9    I mean, that's what we're grappling with.

     10               MR. DELINSKY:     Object to form.

     11               THE WITNESS:    I can't really comment.

     12          Q.   You don't think it is shocking?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:    This is my first time seeing

     15    it.

     16          Q.   Do you think it's shocking?

     17               MR. DELINSKY:     Object to the form.

     18               Asked and answered.

     19               THE WITNESS:    Again, it's the first time

     20    seeing this.    I can't really comment on it.

     21          Q.   Do you -- I understand.

     22               Do you think it is shocking?        That really is

     23    a yes or no.    I'm not asking if it is the first time

     24    that you saw it.

     25               Do you think it is shocking?

   Golkow Litigation Services                                               Page 46
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 48 Confidentiality
                                                         of 262. PageID #: 228992
                                                                              Review

      1               MR. DELINSKY:     Object to form.     The question

      2    has been asked and answered.

      3               THE WITNESS:    I can't -- I can't comment on

      4    it.

      5          Q.   You have no opinion?

      6               MR. DELINSKY:     Object to form.

      7               THE WITNESS:    I have -- I would want -- I

      8    would want more information.        I would want to know --

      9    I would need more information, more background, more

     10    where this came from.      Who --

     11          Q.   What information?

     12          A.   Seeing it for the first time in this

     13    situation, I can't -- I can't think of what the exact

     14    things that -- that I would need.

     15          Q.   Would you want to know the age of those

     16    people that died?

     17               MR. DELINSKY:     Object to form.

     18          Q.   Would that help you determine if it is

     19    shocking?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:    Still would not be able to

     22    comment on it.

     23          Q.   What about if they were someone's son or

     24    daughter, would that help you determine if it's

     25    shocking?

   Golkow Litigation Services                                               Page 47
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 49 Confidentiality
                                                         of 262. PageID #: 228993
                                                                              Review

      1               MR. DELINSKY:     Object to form.

      2               THE WITNESS:    Still would not be able to

      3    comment on it.

      4          Q.   You just can't think of anything that would

      5    help you determine if it's shocking?

      6          A.   Not without more information.

      7               MR. DELINSKY:     I object to the form of the

      8    question.

      9               Ms. Helfrich, just make sure you pause so I

     10    have an opportunity to interpose my objections.

     11          Q.   You said that SOM was one part of -- of

     12    preventing diversion.

     13               Do you remember that?

     14               MR. DELINSKY:     Object to form.

     15               THE WITNESS:    I believe it was one tool.

     16          Q.   One tool?

     17          A.   Yeah.

     18          Q.   Okay.   So you said SOM is one tool to prevent

     19    diversion?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:    One tool used to prevent

     22    diversion.

     23          Q.   Okay.   And are you telling me it is one tool

     24    used at the Indiana distribution center to prevent

     25    diversion?

   Golkow Litigation Services                                               Page 48
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 50 Confidentiality
                                                         of 262. PageID #: 228994
                                                                              Review

      1          A.   It's one tool that -- that I know of with SOM

      2    that was used to prevent diversion.

      3          Q.   What else prevents diversion?        What else that

      4    you know of?

      5          A.   For me?   There was -- it was SOM, and that

      6    was my main focus.

      7          Q.   You said SOM was one tool.       I'm asking what

      8    the other tools are to prevent diversion.

      9          A.   I know it is -- I -- I know SOM is one tool

     10    that prevented diversion.       And that was my main focus.

     11    I'm uncertain of the others.

     12          Q.   Okay.   Do you think there are others?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:    I know SOM was my main focus.

     15    That was what I did.      That was my -- my purpose.

     16          Q.   You're not answering my question.         It is:   Do

     17    you think there are other tools to prevent

     18    diversion?

     19               MR. DELINSKY:     Object to form.

     20          Q.   I'm asking for your opinion, what you know.

     21               MR. DELINSKY:     Object to form.

     22               THE WITNESS:    I know SOM was one tool used,

     23    and that is what I focused on.

     24          Q.   Tell me the other tools that you know of.

     25          A.   I -- I vaguely recall a -- CVS, when I would

   Golkow Litigation Services                                               Page 49
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 51 Confidentiality
                                                         of 262. PageID #: 228995
                                                                              Review

      1    call the -- the doctors -- or not the doctors, the

      2    pharmacists, I -- they had their -- their method, but

      3    I -- I can't recall because SOM was mine.

      4          Q.   So you think that the CVS pharmacies, the

      5    pharmacists also had tools to prevent diversion, was

      6    your understanding?

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:    I just vaguely recall something

      9    in regards to them.      What exactly it is...

     10          Q.   Ms. Helfrich, I'm not trying to trick you.

     11    I'm really trying to figure out what was being done at

     12    the Indiana distribution center while you were there

     13    and while people thought you were the SOM manager and

     14    while people thought that you were in charge of DEA

     15    compliance.    I'm trying to find out what was being

     16    done.

     17               What I worry about is when you say "it's one

     18    tool," that later then you offer testimony, if this

     19    goes to trial, that you come up with three other

     20    things that were being done at the distribution center

     21    to prevent diversion.      Okay?

     22               Do you know of any other tools, then, at the

     23    Indiana distribution center, while you were working

     24    there, to help prevent diversion?

     25               MR. DELINSKY:     Object to form.

   Golkow Litigation Services                                               Page 50
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 52 Confidentiality
                                                         of 262. PageID #: 228996
                                                                              Review

      1               THE WITNESS:    At the distribution center?

      2    There would be pickers that would notice an irregular

      3    order, and I would be shot an email.

      4          Q.   Okay.   So, we have pickers and we have the

      5    SOM, which -- the Item Review Report, essentially,

      6    correct?

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:    Yeah.

      9          Q.   Anything else besides those two that you can

     10    think of?

     11          A.   That I can recall, those are the two that

     12    stick out.

     13               (CVS-Helfrich-20 was marked for

     14    identification.)

     15          Q.   I'm showing you what has been marked as

     16    Exhibit 20, and I apologize for throwing them at you.

     17               MR. DELINSKY:     Did you say Exhibit 29?

     18               MR. GOETZ:    This is Exhibit 20.

     19          Q.   When you started in 2012, were you aware that

     20    there was a direct correlation between opioid overdose

     21    deaths and opioid sales?

     22               MR. DELINSKY:     Object to form.

     23               THE WITNESS:    I did not.

     24          Q.   You did not know?

     25          A.   No.

   Golkow Litigation Services                                               Page 51
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 53 Confidentiality
                                                         of 262. PageID #: 228997
                                                                              Review

      1          Q.   Okay.   Does -- can -- that chart indicates

      2    there's a correlation, doesn't it?

      3               MR. DELINSKY:     Object to form.

      4               THE WITNESS:    I can't -- I don't know where

      5    this -- this information came from, like how it was

      6    gathered.

      7          Q.   I'm not asking you to -- to challenge the

      8    validity of the report.       We can talk about whether you

      9    think the report is valid or not based on your

     10    expertise.

     11               But this report was put together by the Drug

     12    Enforcement Administration.        According to them, there

     13    is a correlation between opioid sales and opioid

     14    deaths as shown in this chart, correct?

     15               MR. DELINSKY:     Object to form.

     16               THE WITNESS:    Well, if you're asking what I'm

     17    seeing, that's --

     18          Q.   You see the correlation, correct?

     19               MR. DELINSKY:     Object to form.

     20               THE WITNESS:    I see it.     I -- I see what's on

     21    the chart.

     22          Q.   And what is on the chart?

     23          A.   The opioid sales versus deaths versus opioid

     24    treatment admissions.

     25          Q.   And they all run semi-parallel to each other,

   Golkow Litigation Services                                               Page 52
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 54 Confidentiality
                                                         of 262. PageID #: 228998
                                                                              Review

      1    correct?

      2               MR. DELINSKY:     Object to form.

      3               THE WITNESS:    I really don't --

      4          Q.   Let me ask --

      5          A.   -- feel comfortable commenting on a document

      6    I've just seen.

      7          Q.   Just so you do not see the correlation?          You

      8    can't acknowledge the correlation?

      9               MR. DELINSKY:     Object to form.

     10               THE WITNESS:    I can't -- I can't really

     11    comment.

     12          Q.   Why can't you comment?

     13          A.   Because I -- it is the first time I'm seeing

     14    it.   I don't -- I don't know the reasoning behind it,

     15    what -- what went into it.

     16          Q.   What was your understanding of the legal

     17    obligations that CVS had to monitor for suspicious

     18    orders?

     19          A.   I know that it's a DEA required -- it's

     20    something that DEA requires, but the actual context

     21    and -- I'm not familiar with.

     22          Q.   Are you finished?

     23          A.   Yes.

     24          Q.   I don't understand your answer.        You know

     25    that DEA requires but you're not familiar with the

   Golkow Litigation Services                                                Page 53
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 55 Confidentiality
                                                         of 262. PageID #: 228999
                                                                              Review

      1    actual context.

      2          A.   Yeah.

      3          Q.   I don't understand what you said.

      4          A.   I'm not -- I'm not familiar with the exact --

      5    like the language or -- of the requirement that DEA

      6    imposes, but I know there is one.

      7          Q.   Okay.   So you don't know the exact language.

      8    Is that what you're telling me?

      9          A.   Yeah.

     10          Q.   But you know there is a requirement?

     11          A.   Yes.

     12          Q.   Okay.   What is that requirement?       I'm not

     13    asking for exact language.       I'm asking you to give it

     14    to me in your words.

     15          A.   In general, the DEA requires monitoring of

     16    potential suspicious drugs.

     17               MR. DELINSKY:     Drugs or orders.

     18               MR. GOETZ:    I'm sorry.    What?

     19               Did you catch that?

     20               What did you say?

     21               MR. DELINSKY:     I said drugs or orders.

     22               MR. GOETZ:    I don't --

     23               MR. DELINSKY:     Drugs or orders.

     24               MR. GOETZ:    Okay.

     25               MR. DELINSKY:     Potentially suspicious drugs

   Golkow Litigation Services                                               Page 54
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 56 Confidentiality
                                                         of 262. PageID #: 229000
                                                                              Review

      1    or potentially suspicious orders.

      2                MR. GOETZ:   Oh, is that what she said?

      3                MR. DELINSKY:    Yes.

      4                MR. GOETZ:   Oh, okay.    You were just

      5    repeating it.

      6                MR. DELINSKY:    Yes.

      7                THE REPORTER:    Ma'am, you're going to have to

      8    keep your voice up.      I didn't know you said that.

      9                MR. GOETZ:   I didn't hear drugs either.

     10                THE REPORTER:    So --

     11                MR. GOETZ:   I thought Mr. Delinsky and I was

     12    going to have to swear him in.

     13           Q.   So your general understanding is that the DEA

     14    requires CVS to monitor for potentially suspicious

     15    drugs or orders; is that correct?

     16           A.   Yes.

     17           Q.   Okay.

     18                MR. GOETZ:   This is a good time to take a

     19    five-minute break.

     20                MR. DELINSKY:    Okay.

     21                THE VIDEOGRAPHER:    We are off record at 9:54

     22    a.m.

     23                (There was a brief recess.)

     24                THE VIDEOGRAPHER:    We are back on the record

     25    at 10:12 a.m.

   Golkow Litigation Services                                               Page 55
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 57 Confidentiality
                                                         of 262. PageID #: 229001
                                                                              Review

      1              (CVS-Helfrich-2 was marked for

      2    identification.)

      3    BY MR. GOETZ:

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 56
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 58 Confidentiality
                                                         of 262. PageID #: 229002
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 57
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 59 Confidentiality
                                                         of 262. PageID #: 229003
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 58
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 60 Confidentiality
                                                         of 262. PageID #: 229004
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 59
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 61 Confidentiality
                                                         of 262. PageID #: 229005
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 60
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 62 Confidentiality
                                                         of 262. PageID #: 229006
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 61
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 63 Confidentiality
                                                         of 262. PageID #: 229007
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 62
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 64 Confidentiality
                                                         of 262. PageID #: 229008
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 63
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 65 Confidentiality
                                                         of 262. PageID #: 229009
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 64
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 66 Confidentiality
                                                         of 262. PageID #: 229010
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 65
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 67 Confidentiality
                                                         of 262. PageID #: 229011
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 66
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 68 Confidentiality
                                                         of 262. PageID #: 229012
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 67
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 69 Confidentiality
                                                         of 262. PageID #: 229013
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 68
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 70 Confidentiality
                                                         of 262. PageID #: 229014
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 69
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 71 Confidentiality
                                                         of 262. PageID #: 229015
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 70
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 72 Confidentiality
                                                         of 262. PageID #: 229016
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 71
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 73 Confidentiality
                                                         of 262. PageID #: 229017
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 72
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 74 Confidentiality
                                                         of 262. PageID #: 229018
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 73
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 75 Confidentiality
                                                         of 262. PageID #: 229019
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 74
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 76 Confidentiality
                                                         of 262. PageID #: 229020
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 75
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 77 Confidentiality
                                                         of 262. PageID #: 229021
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 76
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 78 Confidentiality
                                                         of 262. PageID #: 229022
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 77
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 79 Confidentiality
                                                         of 262. PageID #: 229023
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 78
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 80 Confidentiality
                                                         of 262. PageID #: 229024
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 79
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 81 Confidentiality
                                                         of 262. PageID #: 229025
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 80
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 82 Confidentiality
                                                         of 262. PageID #: 229026
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 81
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 83 Confidentiality
                                                         of 262. PageID #: 229027
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 82
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 84 Confidentiality
                                                         of 262. PageID #: 229028
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 83
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 85 Confidentiality
                                                         of 262. PageID #: 229029
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 84
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 86 Confidentiality
                                                         of 262. PageID #: 229030
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 85
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 87 Confidentiality
                                                         of 262. PageID #: 229031
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 86
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 88 Confidentiality
                                                         of 262. PageID #: 229032
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 87
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 89 Confidentiality
                                                         of 262. PageID #: 229033
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 88
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 90 Confidentiality
                                                         of 262. PageID #: 229034
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 89
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 91 Confidentiality
                                                         of 262. PageID #: 229035
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 90
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 92 Confidentiality
                                                         of 262. PageID #: 229036
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 91
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 93 Confidentiality
                                                         of 262. PageID #: 229037
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 92
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 94 Confidentiality
                                                         of 262. PageID #: 229038
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 93
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 95 Confidentiality
                                                         of 262. PageID #: 229039
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 94
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 96 Confidentiality
                                                         of 262. PageID #: 229040
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9               THE VIDEOGRAPHER:     We are back on the record

     10    at 11:25 a.m.

     11    BY MR. GOETZ:

     12          Q.   Ms. Helfrich, in August of 2013, when you

     13    were working in the Suspicious Order Monitoring at CVS

     14    in Indiana, when was your typical day?

     15               MR. DELINSKY:     Object to form.

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 95
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 97 Confidentiality
                                                         of 262. PageID #: 229041
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 96
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 98 Confidentiality
                                                         of 262. PageID #: 229042
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 97
Case:Highly
      1:17-md-02804-DAP Doc #:- 1978-8
              Confidential             Filed:
                                 Subject   to07/24/19
                                              Further 99 Confidentiality
                                                         of 262. PageID #: 229043
                                                                              Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

   Golkow Litigation Services                                               Page 98
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further100Confidentiality
                                                           of 262. PageID #: 229044
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                              Page 99
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further101Confidentiality
                                                           of 262. PageID #: 229045
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 100
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further102Confidentiality
                                                           of 262. PageID #: 229046
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 101
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further103Confidentiality
                                                           of 262. PageID #: 229047
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 102
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further104Confidentiality
                                                           of 262. PageID #: 229048
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 103
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further105Confidentiality
                                                           of 262. PageID #: 229049
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 104
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further106Confidentiality
                                                           of 262. PageID #: 229050
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 105
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further107Confidentiality
                                                           of 262. PageID #: 229051
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 106
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further108Confidentiality
                                                           of 262. PageID #: 229052
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 107
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further109Confidentiality
                                                           of 262. PageID #: 229053
                                                                               Review

      1

      2          Q.   What is an IRR Recap?

      3          A.   I don't recall.

      4          Q.   You don't recall?

      5               Did you look at any documents to prep?

      6          A.   No.

      7          Q.   No?   Ms. Helfrich, do you --

      8               MR. DELINSKY:     Did you look at any documents

      9    in preparing for the deposition?

     10               It's not a complicated question.         Did you

     11    look at any documents to prepare for the deposition?

     12    In meeting with me, did you look at documents?

     13               Dan, let's take a break.         Let's take a

     14    break.

     15               THE VIDEOGRAPHER:      We are off the record at

     16    11:58.

     17               (There was a luncheon recess.)

     18               THE VIDEOGRAPHER:      We are back on the record

     19    at 12:30 p.m.

     20    BY MR. GOETZ:

     21          Q.   Ms. Helfrich, before we took a break, I had

     22    asked you a question, if you had reviewed any

     23    documents in preparation for today.

     24               Did you review any documents in preparation

     25    for today?

    Golkow Litigation Services                                             Page 108
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further110Confidentiality
                                                           of 262. PageID #: 229054
                                                                               Review

      1           A.   Yes.

      2           Q.   Can you tell me what those documents are?

      3                MR. DELINSKY:    Instruct the witness not to

      4    answer on privileged grounds.         If you ask a question

      5    about a particular document, you can ask that

      6    document.     But her selection and the selection of

      7    documents that she was shown reflects privileged

      8    communications and work product.

      9    BY MR. GOETZ:

     10           Q.   Ms. Helfrich, did you review an Item Review

     11    Report in preparation for today?

     12           A.   I want to -- I believe I saw a portion of

     13    one.

     14           Q.   Did you review an IRR Recap Report --

     15           A.   Recap?

     16           Q.   -- in preparation for today?

     17           A.   Not that I can recall, unless I'm confusing

     18    it with something.

     19                (CVS-Helfrich-13 was marked for

     20    identification.)

     21           Q.   So, I'm going to hand you something that we

     22    have marked as Exhibit 13.

     23                MR. GOETZ:    Do you want a copy?

     24                MS. HARMON:    No, thank you.

     25                MR. GOETZ:    I couldn't imagine that you

    Golkow Litigation Services                                             Page 109
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further111Confidentiality
                                                           of 262. PageID #: 229055
                                                                               Review

      1    would.

      2          Q.   Ms. Helfrich, would you briefly leaf through

      3    those pages and tell me what that document is.

      4          A.   To me, this looks like what we -- we called

      5    the max tracker.

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 110
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further112Confidentiality
                                                           of 262. PageID #: 229056
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 111
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further113Confidentiality
                                                           of 262. PageID #: 229057
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 112
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further114Confidentiality
                                                           of 262. PageID #: 229058
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 113
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further115Confidentiality
                                                           of 262. PageID #: 229059
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 114
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further116Confidentiality
                                                           of 262. PageID #: 229060
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 115
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further117Confidentiality
                                                           of 262. PageID #: 229061
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 116
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further118Confidentiality
                                                           of 262. PageID #: 229062
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 117
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further119Confidentiality
                                                           of 262. PageID #: 229063
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 118
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further120Confidentiality
                                                           of 262. PageID #: 229064
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 119
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further121Confidentiality
                                                           of 262. PageID #: 229065
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 120
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further122Confidentiality
                                                           of 262. PageID #: 229066
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 121
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further123Confidentiality
                                                           of 262. PageID #: 229067
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 122
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further124Confidentiality
                                                           of 262. PageID #: 229068
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 123
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further125Confidentiality
                                                           of 262. PageID #: 229069
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 124
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further126Confidentiality
                                                           of 262. PageID #: 229070
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 125
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further127Confidentiality
                                                           of 262. PageID #: 229071
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 126
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further128Confidentiality
                                                           of 262. PageID #: 229072
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 127
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further129Confidentiality
                                                           of 262. PageID #: 229073
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 128
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further130Confidentiality
                                                           of 262. PageID #: 229074
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15          Q.   Ms. Helfrich, in 2014, there was a new system

     16    that was coming into being, right?

     17          A.   Yes.

     18          Q.   Okay.    And in -- and in 2014, they started

     19    hiring additional people, correct?

     20          A.   I believe so.

     21          Q.   Yeah.    And before that new system came in,

     22    you started having actually the opportunity to do

     23    additional due diligence on more orders that were

     24    identified by the IRR as potentially suspicious,

     25    correct?

    Golkow Litigation Services                                             Page 129
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further131Confidentiality
                                                           of 262. PageID #: 229075
                                                                               Review

      1               MR. DELINSKY:     Object to form.

      2               THE WITNESS:     That, I don't -- I don't

      3    remember that being the case.

      4          Q.   There were more people hired in the beginning

      5    of 2014, correct?

      6          A.   For the new SOM team?

      7          Q.   Yeah.    And to ramp up for the new SOM and at

      8    the end of '13 and into '14, they were hiring

      9    additional people for the suspicious order monitoring

     10    program?

     11               MR. DELINSKY:     Object to form.

     12               THE WITNESS:     I believe those were -- that

     13    was probably the time frame, but how many people they

     14    actually hired I'm uncertain of.

     15          Q.   And so since they hired additional people,

     16    that allowed the opportunity to do additional due

     17    diligence in the older system, correct?           What -- I'm

     18    talking about the system pre-March of '14.

     19               MR. DELINSKY:     Object to form.

     20               THE WITNESS:     I don't think -- I don't

     21    believe that changed the way I did my -- my job.

     22               (CVS-Helfrich-14 was marked for

     23    identification.)

     24          Q.   I'm going to show you what we have marked as

     25    Exhibit 14.

    Golkow Litigation Services                                             Page 130
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further132Confidentiality
                                                           of 262. PageID #: 229076
                                                                               Review

      1               What is that document?

      2          A.   It looks like the max tracker.

      3          Q.   It is -- it is the same document as the other

      4    one, correct?      Same form?

      5          A.   Yes.

      6          Q.   Okay.    If you see across the top, it will

      7    give you the report date; is that correct?

      8          A.   Yes.

      9          Q.   And it gives you the report?        Do you see

     10    that?

     11          A.   Yes.

     12          Q.   Okay.    And that report under it says FRR?

     13          A.   Yes.

     14          Q.   That's a Florida Review Report, correct?

     15          A.   Yes.

     16          Q.   That was a specific report because of all of

     17    the problems CVS had had in Florida, correct?

     18          A.   I --

     19               MR. DELINSKY:     Object to form.

     20               THE WITNESS:     -- don't -- I don't know the

     21    reasoning behind that report.

     22          Q.   Did you ever ask anybody why there was a

     23    separate report for Florida?

     24          A.   If I did, I don't -- I don't remember.

     25

    Golkow Litigation Services                                             Page 131
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further133Confidentiality
                                                           of 262. PageID #: 229077
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 132
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further134Confidentiality
                                                           of 262. PageID #: 229078
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 133
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further135Confidentiality
                                                           of 262. PageID #: 229079
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 134
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further136Confidentiality
                                                           of 262. PageID #: 229080
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 135
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further137Confidentiality
                                                           of 262. PageID #: 229081
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 136
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further138Confidentiality
                                                           of 262. PageID #: 229082
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 137
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further139Confidentiality
                                                           of 262. PageID #: 229083
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 138
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further140Confidentiality
                                                           of 262. PageID #: 229084
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 139
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further141Confidentiality
                                                           of 262. PageID #: 229085
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 140
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further142Confidentiality
                                                           of 262. PageID #: 229086
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 141
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further143Confidentiality
                                                           of 262. PageID #: 229087
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17               So, again, this reflects the orders from the

     18    Item Review Report that were identified as potentially

     19    suspicious that received additional due diligence --

     20               MR. DELINSKY:     Object to form.

     21    BY MR. GOETZ:

     22          Q.   -- from 1-2 of '14 to 2-11 of '14?

     23               MR. DELINSKY:     Object to form.

     24               THE WITNESS:     I don't remember.

     25          Q.   You think it might reflect the entirety of

    Golkow Litigation Services                                             Page 142
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further144Confidentiality
                                                           of 262. PageID #: 229088
                                                                               Review

      1    the Item Review Report, correct, for that time

      2    period?

      3               MR. DELINSKY:     Object to form.

      4               MR. GOETZ:     You can have a running objection

      5    to form.    Seriously.     Everything.

      6               Go ahead.

      7               THE WITNESS:     I just don't remember.

      8          Q.   Okay.    For this time period I will represent

      9    to you -- tell me if you're surprised -- that there is

     10    one store flagged that either showed up on the IRR,

     11    because you're not sure, or received additional due

     12    diligence after it showed up on the IRR as a

     13    potentially suspicious order.         There is one of those

     14    orders for the CT-1 jurisdiction.

     15               Does that surprise you?

     16               MR. DELINSKY:     Object to form.

     17               THE WITNESS:     I don't -- I don't remember.

     18          Q.   Does it surprise you that that is how few

     19    orders were investigated?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:     It's been so many -- so many

     22    years.     It's -- hard to recall.

     23          Q.   I appreciate that.

     24               Unfortunately, you were the person doing

     25    suspicious order monitoring in 2013 and through 2014

    Golkow Litigation Services                                             Page 143
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further145Confidentiality
                                                           of 262. PageID #: 229089
                                                                               Review

      1    at the CVS Indiana distribution center that was

      2    distributing hydrocodone combination products into the

      3    CT-1 pharmacies.

      4               So you are the person I have to get these

      5    answers from.

      6               MR. DELINSKY:     Object to form.

      7    BY MR. GOETZ:

      8          Q.   Do you know anybody else that would know the

      9    answer?

     10               MR. DELINSKY:     Object to form.

     11               THE WITNESS:     I mean, I didn't work alone.

     12          Q.   Okay.    Ms. Helfrich, the -- the orders we

     13    looked at all bore -- had your name on them.

     14               Who else besides you could tell me about

     15    them?

     16               And I'll point out to you the order on CT-1

     17    on Exhibit 14 that's on page 10254.

     18               Do you see that?

     19          A.   Yes.

     20          Q.   That has your name, correct?

     21          A.   The --

     22               MR. DELINSKY:     Which one?     There is...

     23               MR. GOETZ:     Well, it is the same store.        It

     24    is the same date.

     25               MR. DELINSKY:     The 3314, store 3314?

    Golkow Litigation Services                                               Page 144
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further146Confidentiality
                                                           of 262. PageID #: 229090
                                                                               Review

      1               MR. GOETZ:     Yes.

      2               MR. DELINSKY:     At the very bottom?

      3               MR. GOETZ:     Yeah.    It is actually the only

      4    one that is a nonFlorida, I believe.          I apologize,

      5    it's not, but it is the bottom store.

      6               THE WITNESS:     Yes.

      7    BY MR. GOETZ:

      8          Q.   Who else could tell me that?

      9          A.   During that time, we had pharma compliance, I

     10    believe.

     11          Q.   Are they going to tell me what you are doing

     12    with this order, Ms. Helfrich?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:     They probably wouldn't be able

     15    to recall.     They probably might not be able to

     16    remember, just like I'm kind of struggling to

     17    remember.

     18          Q.   You think maybe pharma compliance might be

     19    able to tell me something?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:     At the time, that -- they may

     22    have been the only assistance that I had.

     23          Q.   At that time?

     24          A.   Possibly.

     25          Q.   Who was person from pharma compliance?

    Golkow Litigation Services                                             Page 145
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further147Confidentiality
                                                           of 262. PageID #: 229091
                                                                               Review

      1          A.   We had maybe a few different people at

      2    different times.      The main one, I can't recall his

      3    last name, but it was Steve.

      4               MR. DELINSKY:     Excuse me.     Could you put your

      5    phone on mute?

      6               MR. GOETZ:     You need to mute.

      7               (CVS-Helfrich-35 was marked for

      8    identification.)

      9          Q.   I'm going hand you Exhibit 35.

     10               And I -- I've previously showed you Exhibit

     11    34.

     12               Can you pull that up, please?

     13               Thirty-four and 35, those are for the same

     14    orders, correct?

     15          A.   Yes.

     16          Q.   And that actually happens to be the exact

     17    same order that is shown in Exhibit 14 down at the

     18    bottom, correct?

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 146
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further148Confidentiality
                                                           of 262. PageID #: 229092
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 147
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further149Confidentiality
                                                           of 262. PageID #: 229093
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 148
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further150Confidentiality
                                                           of 262. PageID #: 229094
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 149
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further151Confidentiality
                                                           of 262. PageID #: 229095
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 150
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further152Confidentiality
                                                           of 262. PageID #: 229096
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 151
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further153Confidentiality
                                                           of 262. PageID #: 229097
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 152
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further154Confidentiality
                                                           of 262. PageID #: 229098
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 153
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further155Confidentiality
                                                           of 262. PageID #: 229099
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 154
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further156Confidentiality
                                                           of 262. PageID #: 229100
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 155
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further157Confidentiality
                                                           of 262. PageID #: 229101
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 156
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further158Confidentiality
                                                           of 262. PageID #: 229102
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 157
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further159Confidentiality
                                                           of 262. PageID #: 229103
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 158
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further160Confidentiality
                                                           of 262. PageID #: 229104
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 159
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further161Confidentiality
                                                           of 262. PageID #: 229105
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 160
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further162Confidentiality
                                                           of 262. PageID #: 229106
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 161
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further163Confidentiality
                                                           of 262. PageID #: 229107
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 162
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further164Confidentiality
                                                           of 262. PageID #: 229108
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 163
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further165Confidentiality
                                                           of 262. PageID #: 229109
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10          Q.   Are you aware that CVS paid over a $132

     11    million in fines related to controlled substances and

     12    pseudoephedrine?

     13               MR. DELINSKY:     Objection.

     14          Q.   Are you aware of that?

     15               MR. DELINSKY:     Object to form.

     16               THE WITNESS:     I don't recall having that

     17    information.

     18          Q.   Okay.    As you sit here today, do you know

     19    that?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:     I vaguely recall something of

     22    that nature.

     23          Q.   You're still at CVS, correct?

     24          A.   Yes.

     25          Q.   Yeah.    So you have never left, even though

    Golkow Litigation Services                                             Page 164
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further166Confidentiality
                                                           of 262. PageID #: 229110
                                                                               Review

      1    you left SOM, Suspicious Order Monitoring, you're

      2    still there?

      3          A.   Yes.

      4          Q.   You're still at the warehouse?

      5          A.   Yes.

      6          Q.   Are you aware that they had a show cause

      7    order in Florida for how much Oxycodone and OxyContin

      8    they were spitting out of their pharmacies?            Are you

      9    aware of that?

     10               MR. DELINSKY:     Object to form.

     11               THE WITNESS:     Not that I can recall, no.

     12          Q.   Are you aware that when this model was

     13    changed from .65 to -- from .15 to .65, that it

     14    actually was done internally, the experts were not

     15    consulted?

     16               MR. DELINSKY:     Object to form.

     17               That's a false statement.

     18               MR. GOETZ:     Let me have 10.

     19          Q.   Are you aware of that?

     20          A.   No, I did not know that.

     21          Q.   I might have misspoke, and I believe the

     22    experts were told after the fact.          And they were

     23    surprised at the -- at the departure, but we will see

     24    if I'm wrong.

     25

    Golkow Litigation Services                                              Page 165
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further167Confidentiality
                                                           of 262. PageID #: 229111
                                                                               Review

      1                (CVS-Helfrich-10 was marked for

      2    identification.)

      3           Q.   I'm going to hand to you Exhibit 10.

      4                Do you see the last page?       It is 88518.

      5           A.   Yes.

      6           Q.   And if you turn to the page before it, 88517,

      7    that's an email from John Mortelliti to Robert

      8    Williamson.

      9                MR. DELINSKY:    Ms. Helfrich, if you have not

     10    seen this document before, I would ask that you take a

     11    moment to read it, in full.

     12                THE WITNESS:    Okay.

     13           Q.   Can you -- did you get a chance to read it

     14    all?

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 166
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further168Confidentiality
                                                           of 262. PageID #: 229112
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 167
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further169Confidentiality
                                                           of 262. PageID #: 229113
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 168
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further170Confidentiality
                                                           of 262. PageID #: 229114
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 169
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further171Confidentiality
                                                           of 262. PageID #: 229115
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 170
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further172Confidentiality
                                                           of 262. PageID #: 229116
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 171
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further173Confidentiality
                                                           of 262. PageID #: 229117
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 172
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further174Confidentiality
                                                           of 262. PageID #: 229118
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 173
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further175Confidentiality
                                                           of 262. PageID #: 229119
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 174
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further176Confidentiality
                                                           of 262. PageID #: 229120
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 175
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further177Confidentiality
                                                           of 262. PageID #: 229121
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 176
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further178Confidentiality
                                                           of 262. PageID #: 229122
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 177
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further179Confidentiality
                                                           of 262. PageID #: 229123
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 178
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further180Confidentiality
                                                           of 262. PageID #: 229124
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 179
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further181Confidentiality
                                                           of 262. PageID #: 229125
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 180
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further182Confidentiality
                                                           of 262. PageID #: 229126
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 181
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further183Confidentiality
                                                           of 262. PageID #: 229127
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 182
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further184Confidentiality
                                                           of 262. PageID #: 229128
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 183
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further185Confidentiality
                                                           of 262. PageID #: 229129
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 184
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further186Confidentiality
                                                           of 262. PageID #: 229130
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 185
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further187Confidentiality
                                                           of 262. PageID #: 229131
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 186
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further188Confidentiality
                                                           of 262. PageID #: 229132
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 187
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further189Confidentiality
                                                           of 262. PageID #: 229133
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 188
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further190Confidentiality
                                                           of 262. PageID #: 229134
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 189
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further191Confidentiality
                                                           of 262. PageID #: 229135
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 190
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further192Confidentiality
                                                           of 262. PageID #: 229136
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 191
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further193Confidentiality
                                                           of 262. PageID #: 229137
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 192
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further194Confidentiality
                                                           of 262. PageID #: 229138
                                                                               Review

      1

      2

      3

      4

      5

      6

      7          Q.   Ms. Helfrich, are you sure you're not

      8    confusing this with the new IRR system which came

      9    online March of 2014?

     10          A.   The new IRR system?

     11          Q.   There was a new SOM system that came online

     12    in March of '14, correct?

     13               MR. DELINSKY:     The wind socket system,

     14    Shauna.

     15               THE WITNESS:     Oh.   Okay.    Yes.

     16          Q.   There was correct?

     17          A.   Yes.

     18          Q.   And for a period, that system was going --

     19    was also out of the Indianapolis distribution center,

     20    correct?

     21          A.   The new SOM?

     22          Q.   You never worked on that?

     23          A.   The new SOM?

     24          Q.   Yes.

     25          A.   I've seen it.     I don't recall working on

    Golkow Litigation Services                                             Page 193
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further195Confidentiality
                                                           of 262. PageID #: 229139
                                                                               Review

      1    it.

      2           Q.   You don't ever recall working on that?

      3           A.   I don't recall.

      4           Q.   Did Gary Millikan always work out of the

      5    Indiana distribution center in 2014 or did he actually

      6    go to Rhode Island?

      7           A.   From -- I don't know.      I don't know Gary.

      8                MR. DELINSKY:    All right.     Let's take a

      9    break.

     10                THE VIDEOGRAPHER:     We are off record at 3:31

     11    p.m.

     12                (There was a brief recess.)

     13                THE VIDEOGRAPHER:     We are back on the record

     14    at 3:40 p.m.

     15    BY MR. GOETZ:

     16           Q.   Ms. Helfrich, I think the last thing we were

     17    talking about is what that data can and can't show.

     18                Can that data up there tell me anything about

     19    the doctors that had prescribed that drug in the past

     20    of patients that use that pharmacy?

     21           A.   Still not familiar with exactly remembering

     22    what this -- but possibly, no.

     23           Q.   And can that data up there -- strike that.

     24                Do you know what the "Trinity" is?

     25           A.   I have heard of the Trinity.       I can't exactly

    Golkow Litigation Services                                             Page 194
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further196Confidentiality
                                                           of 262. PageID #: 229140
                                                                               Review

      1    recall which ones are in it.

      2          Q.   You don't remember?

      3          A.   I think possibly hydrocodone, maybe

      4    oxycodone, and I'm not for sure of the last.

      5          Q.   So the Trinity was the hydrocodone,

      6    benzodiazepine, and a muscle relaxer.

      7               Does that refresh your recollection?

      8          A.   Yes.

      9          Q.   And benzodiazepine is an anxiety medication,

     10    correct?

     11          A.   Yes, I believe so.

     12          Q.   Okay.    Can -- can that -- and the Trinity was

     13    really significant for a SOM program because if you

     14    saw those three drugs going out in combination, that

     15    was usually an indication of diversion, correct?

     16               MR. DELINSKY:     Object to form.

     17               THE WITNESS:     I'm not certain of that.        I do

     18    remember something in regards to the cocktails that

     19    was -- that was of interest if we saw that.

     20          Q.   Why was it of interest?

     21          A.   For -- I believe, if recall correctly, I --

     22    potential abuse when you get those three together.

     23          Q.   Can that information up there tell me

     24    anything about the Trinity?

     25          A.   I don't believe so.

    Golkow Litigation Services                                             Page 195
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further197Confidentiality
                                                           of 262. PageID #: 229141
                                                                               Review

      1          Q.   Can we talk generically about what due

      2    diligence can be done to figure out whether or not a

      3    order is suspicious?

      4               So you can contact and speak to the

      5    pharmacist, correct?

      6          A.   Yes.

      7          Q.   Okay.    And what would you ask the

      8    pharmacist?

      9          A.   I can't recall the exact conversations.

     10               I know in -- in general, it regarded to --

     11    possibly asking them what their balance on hand was,

     12    possibly let them know what was ordered, and my due

     13    diligence that I did, what I found.

     14               And if they had -- if they had any, you know,

     15    patients or doctors of -- of interest.           If this was

     16    a -- if it was an order that they actually wanted to

     17    place.

     18               I can't recall what other questions I might

     19    have asked.

     20          Q.   And that information could be important to

     21    you in investigating whether or not an order is a

     22    potentially suspicious?

     23               MR. DELINSKY:     Object to form.

     24               THE WITNESS:     I -- I did not have that -- I

     25    did not deem whether an order was suspicious or not.

    Golkow Litigation Services                                             Page 196
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further198Confidentiality
                                                           of 262. PageID #: 229142
                                                                               Review

      1    That was actually -- if it was an order I was

      2    concerned with, it was elevated up.

      3                But those questions could help me figure out

      4    what happened in the ordering.

      5           Q.   How often did you elevate an order?

      6           A.   That, I -- I don't remember.

      7           Q.   What was the form that you used to elevate an

      8    order?

      9           A.   I would notify Pam Hinkle and Dean Vanelli of

     10    my concerns.

     11           Q.   How?

     12           A.   Either via phone or email.

     13           Q.   And then what would happen to them?

     14           A.   Then it was out of my hands.

     15           Q.   You would email them your due diligence,

     16    correct?

     17           A.   Yes.

     18           Q.   We have not seen one order that you elevated

     19    in our discovery.

     20                Does that surprise you?

     21           A.   Considering I know there were orders that I

     22    elevated.

     23           Q.   Would you elevate orders once a week?         Once a

     24    day?    Once a month?

     25                Approximately how often?

    Golkow Litigation Services                                             Page 197
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further199Confidentiality
                                                           of 262. PageID #: 229143
                                                                               Review

      1          A.   I don't -- I don't remember.

      2          Q.   I need some -- you have no idea whether it

      3    was once day or once every six months?

      4               MR. DELINSKY:     Object to form.

      5               THE WITNESS:     Not -- every day was different.

      6    I just don't remember.

      7          Q.   Could have elevated an order once every six

      8    months?

      9               MR. DELINSKY:     Object to form.

     10               THE WITNESS:     I don't remember.

     11          Q.   Once every eight months?

     12               MR. DELINSKY:     Object to form.

     13               THE WITNESS:     I don't remember.

     14          Q.   Once every nine months?

     15          A.   I don't remember.

     16          Q.   Did you have a subject line you would put on

     17    there when you would elevate an order?

     18          A.   I believe there is something that I put in

     19    the email.     I just don't recall what it was exactly.

     20          Q.   And you would attach and send your due

     21    diligence when you sent that email?

     22               MR. DELINSKY:     Object to form.

     23               THE WITNESS:     I don't remember if it was

     24    attached with that email or -- or later.           I -- I

     25    believe -- gosh, it's hard to recall.

    Golkow Litigation Services                                             Page 198
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further200Confidentiality
                                                           of 262. PageID #: 229144
                                                                               Review

      1               I want to say, if I recall correctly, it may

      2    have been with the initial email.

      3          Q.   That information you indicated that you could

      4    gather from -- that was part of due diligence, decide

      5    whether or not to elevate an order by calling the

      6    pharmacist, none of that is reflected in the Item

      7    Review Report entries, is it?

      8          A.   No.

      9          Q.   No?

     10               So if you want that due diligence to evaluate

     11    an order, you actually have to do that separate due

     12    diligence and contact the pharmacist, correct?

     13          A.   After the review of the IRR?

     14          Q.   Yes.

     15          A.   Yes.

     16          Q.   Yes.

     17               If you want to -- okay.

     18               And there was actually a pharmacy contact

     19    form?

     20          A.   That, I don't remember.

     21          Q.   How often did you contact a pharmacy?

     22          A.   I would contact pharmacies daily.

     23          Q.   Daily?

     24          A.   Yes.

     25          Q.   Would you fill out a form?

    Golkow Litigation Services                                             Page 199
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further201Confidentiality
                                                           of 262. PageID #: 229145
                                                                               Review

      1               MR. DELINSKY:     Object to form.

      2               THE WITNESS:     I don't remember.

      3          Q.   How many times per day do you think that you

      4    would contact the pharmacy?

      5          A.   It varies from day to day, but the calls were

      6    frequent.

      7               I don't -- I don't remember an actual

      8    number.

      9          Q.   I'm asking you:      Was it once a day?      Five

     10    times a day?     Ten times a day?

     11          A.   I don't remember.

     12          Q.   Might have been once?       It might have been

     13    five?

     14          A.   I don't remember.

     15               MR. DELINSKY:     Shauna, was there a range that

     16    you can recall?      It may have been three or something

     17    else?

     18               THE WITNESS:     Oh, man.    I know that the calls

     19    were -- were frequent, depending on, obviously, the

     20    volume.

     21          Q.   You predominately would call, because we

     22    looked at that report earlier that said, was this

     23    order a mistake, right?

     24               You said fat finger, that was whether or not

     25    it was a fat finger, you remember a yes or no?

    Golkow Litigation Services                                             Page 200
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further202Confidentiality
                                                           of 262. PageID #: 229146
                                                                               Review

      1          A.   Yes.

      2          Q.   And that is predominantly why you would call

      3    and say, "Hey, was this a fat finger?"

      4               And you would get a no or a yes, and you

      5    would enter that in?

      6               MR. DELINSKY:     Object to form.

      7               THE WITNESS:     No.   That would -- that's

      8    usually information that they would have given me.             I

      9    don't -- that's not something that I asked them.

     10          Q.   You would say, "Did you order 50,000 hydros?"

     11               And they said, "No, we meant to order 5,000."

     12               Is that what you are telling me?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:     If there is an error in the

     15    order, yeah, they would let me know.

     16          Q.   Other due diligence that you can do is

     17    looking at ordering versus dispensing data.

     18               And we have talked about that earlier,

     19    correct?

     20          A.   Yes.

     21          Q.   Okay.    You don't know why -- I remember you

     22    are not sure what the significance of it was, but is

     23    that showing up there on that report?

     24               MR. DELINSKY:     Object to form.

     25               THE WITNESS:     I don't know much about what

    Golkow Litigation Services                                             Page 201
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further203Confidentiality
                                                           of 262. PageID #: 229147
                                                                               Review

      1    that -- what that -- I can't really recall what that

      2    is showing.

      3          Q.   Are you finished?

      4          A.   Yes.

      5          Q.   So you don't know?

      6          A.   I don't know.

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:     I don't recall.

      9          Q.   Another thing you could do would be to

     10    determine whether or not doctors make up a

     11    disproportionate share of those prescriptions for a

     12    pharmacy, correct?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:     Of like -- like top doctors --

     15          Q.   Yes?

     16          A.   -- of -- yes.

     17          Q.   Yeah.

     18               You would want to know, what are the top

     19    doctors?    Who are they?      What are their specialties?

     20    And how much of this drug are they actually

     21    prescribing that -- that is being -- that is being

     22    sold at that pharmacy, correct?

     23          A.   Yes.

     24

     25

    Golkow Litigation Services                                             Page 202
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further204Confidentiality
                                                           of 262. PageID #: 229148
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 203
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further205Confidentiality
                                                           of 262. PageID #: 229149
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 204
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further206Confidentiality
                                                           of 262. PageID #: 229150
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 205
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further207Confidentiality
                                                           of 262. PageID #: 229151
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 206
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further208Confidentiality
                                                           of 262. PageID #: 229152
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 207
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further209Confidentiality
                                                           of 262. PageID #: 229153
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 208
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further210Confidentiality
                                                           of 262. PageID #: 229154
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 209
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further211Confidentiality
                                                           of 262. PageID #: 229155
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 210
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further212Confidentiality
                                                           of 262. PageID #: 229156
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 211
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further213Confidentiality
                                                           of 262. PageID #: 229157
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 212
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further214Confidentiality
                                                           of 262. PageID #: 229158
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 213
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further215Confidentiality
                                                           of 262. PageID #: 229159
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 214
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further216Confidentiality
                                                           of 262. PageID #: 229160
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 215
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further217Confidentiality
                                                           of 262. PageID #: 229161
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 216
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further218Confidentiality
                                                           of 262. PageID #: 229162
                                                                               Review

      1

      2

      3          Q.   I'm going to hand what you has been marked as

      4    CVS Exhibit 25, Helfrich 25.         These are notes from the

      5    DEA visit.

      6               Have you ever seen these notes?

      7          A.   Not that I can recall.

      8          Q.   If you look at -- under the second bullet, it

      9    says, on the second page, 61235, it says "SOM."

     10               MR. DELINSKY:     61235?    So it's the second

     11    page?

     12               MR. GOETZ:     You're right.     61235 is the fifth

     13    page.

     14          Q.   That's the SOM section.       And it says in the

     15    second bullet, "DEA explained that it is imperative

     16    that CVS know its customers."

     17               Did you know that the DEA believed that that

     18    was imperative?

     19               MR. DELINSKY:     Object to form.

     20               THE WITNESS:     No.

     21          Q.   Do you ever learn that it was imperative to

     22    know your customers?

     23          A.   I've heard that phrase before.

     24          Q.   When?

     25          A.   I can't recall when.

    Golkow Litigation Services                                             Page 217
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further219Confidentiality
                                                           of 262. PageID #: 229163
                                                                               Review

      1          Q.   You didn't know it was imperative, it is just

      2    a phrase that you heard?

      3          A.   I did not know.

      4          Q.   Okay.    Can you look at the -- the bottom

      5    bullet where it says, "Director Nicastro provided the

      6    DEA with examples of actual irregular store orders and

      7    the research completed to validate as legitimate.

      8    They were impressed with the research and said this is

      9    exactly what we want to see."

     10               Do you know what they saw?

     11               MR. DELINSKY:     Object to form.

     12          Q.   Do you know?     I couldn't hear you.

     13          A.   I can't -- I can't really, I mean, comment on

     14    this.    I have never -- that I can recall seeing it.           I

     15    don't know what Mr. Nicastro is -- is -- is saying.

     16               We had earlier looked at 35, if you want to

     17    look at that.      I believe Exhibit 37 might be, but

     18    Exhibit 35 is -- is a sample of the due diligence that

     19    you had done.      Is that --

     20          A.   I have that.

     21          Q.   And other than -- strike that.

     22               That Exhibit 35 is probably what the type of

     23    documents that were shown to the DEA, correct, same

     24    time period, same type of investigation?

     25               MR. DELINSKY:     Object to form.      She testified

    Golkow Litigation Services                                             Page 218
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further220Confidentiality
                                                           of 262. PageID #: 229164
                                                                               Review

      1    that she had no involvement in communications with the

      2    DEA.

      3                THE WITNESS:    I don't -- I don't know.

      4           Q.   Other than that investigation that's shown in

      5    Exhibit 35, the only two other things that could have

      6    been done that we know CVS was doing was calling the

      7    pharmacy or running a Store Metrics report, correct?

      8           A.   From what I can recall, I -- that was my due

      9    diligence.

     10           Q.   Yes.    Those three things shown there and then

     11    calling a pharmacy, running the Store Metrics report,

     12    if you chose to do that, and printing that and putting

     13    it in the file, correct?

     14           A.   Yes.

     15           Q.   Okay.   And so, when they show the DEA the

     16    investigation, more than likely we know they're

     17    probably showing them those five documents, correct?

     18           A.   I was not involved in it.       I don't -- I don't

     19    know.

     20           Q.   You were doing the investigations around this

     21    time period.       You were the one doing the

     22    investigations.      They would have pulled your files for

     23    this.

     24           A.   But I'm not sure exactly what was -- what was

     25    given.      I don't -- I wasn't -- I wasn't involved.

    Golkow Litigation Services                                             Page 219
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further221Confidentiality
                                                           of 262. PageID #: 229165
                                                                               Review

      1          Q.   It would have been based upon what

      2    investigations you were doing at the time, all five or

      3    a -- a portion of those five, some combination of

      4    those five?

      5               MR. DELINSKY:     Object to form.      Objection,

      6    misstates the testimony.        Mischaracterizes the time

      7    frame.

      8               THE WITNESS:     I don't -- I don't -- I don't

      9    know.

     10          Q.   We know your due diligence consisted of

     11    either all five of those things that we talked about,

     12    those three documents, plus the Store Metrics plus

     13    maybe calling the pharmacy, it consisted of one or, in

     14    some cases, all five of those items, correct?

     15          A.   Yes.

     16          Q.   Okay.    If they pulled your due diligence, if

     17    they pulled one of your files to show the DEA and they

     18    said, "Here's a recent file to show the DEA," they

     19    would have pulled one of yours, correct?

     20               MR. DELINSKY:     Objection.     Object to form.

     21    Objection.     Misstates the evidence and testimony.

     22               THE WITNESS:     I mean, that's my due

     23    diligence.

     24          Q.   Okay.    So let's assume that that's -- they

     25    showed them those five documents.          The DEA was

    Golkow Litigation Services                                             Page 220
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further222Confidentiality
                                                           of 262. PageID #: 229166
                                                                               Review

      1    impressed with that, weren't they?

      2               MR. DELINSKY:     Object to form.

      3               THE WITNESS:     I don't feel comfortable

      4    commenting on it since I was not involved.

      5          Q.   Did anybody ever talk to you about this

      6    investigation?

      7          A.   Not that I can remember.

      8          Q.   You were working in SOM at Indiana, the SOM

      9    system in Indiana is subject to a DEA audit, and no

     10    one ever spoke to you about it?

     11               MR. DELINSKY:     Object to form.

     12               THE WITNESS:     I was aware one was going on,

     13    but I -- I did my -- I continued to do my -- do my job

     14    as thoroughly as possible.

     15          Q.   Do you know if the DEA was ever told, "Look

     16    at our great due diligence.        By the way, we did this

     17    on two stores over a one-year period in Cuyahoga and

     18    Summit County"?

     19               MR. DELINSKY:     Object.

     20          Q.   Do you know if they were ever told that?

     21               MR. DELINSKY:     Dan, I'm going to instruct the

     22    witness -- start instructing the witness not to

     23    answer.    You are overtly asking her to speculate on

     24    conversations and a series of events that she said she

     25    didn't participate in.

    Golkow Litigation Services                                             Page 221
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further223Confidentiality
                                                           of 262. PageID #: 229167
                                                                               Review

      1               I've given you leash, but this line of

      2    questioning has to come to an end.

      3          Q.   Exhibit 26.     Have you ever seen this

      4    document?

      5          A.   I don't recall ever seeing this email.

      6          Q.   Do you know who Mark Nicastro is?

      7          A.   Yes.   Yes.

      8          Q.   Who is Mark Nicastro?

      9          A.   Is the director of the Indianapolis DC.

     10          Q.   And this appears to be an email from him

     11    attaching some files -- some different files and

     12    things to Daniel Gillen at the DEA, okay?

     13          A.   Uh-huh.

     14          Q.   Can you go to page 410?       And if you look at

     15    that, page 410 and 411, that is a letter that

     16    Mr. Nicastro wrote to Mr. Gillen, it appears.

     17          A.   Yes.

     18          Q.   I'm only going to go ask you about one -- one

     19    paragraph.     It says -- it is at the bottom, the bottom

     20    paragraph says, "Any order that is flagged by our SOM

     21    model or questioned by our DC team is initially

     22    identified as an order of interest and has additional

     23    due diligence conducted by the SOM team."

     24               Do you see that?

     25          A.   Yes.

    Golkow Litigation Services                                             Page 222
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further224Confidentiality
                                                           of 262. PageID #: 229168
                                                                               Review

      1          Q.   That SOM model that he's speaking about, that

      2    is the Item Review Report that we have talked about

      3    today, correct?

      4          A.   I believe so.

      5          Q.   All right.     I'm just -- I want to make sure

      6    there is nothing else that --

      7          A.   I -- well, I don't exactly know what he is --

      8          Q.   So --

      9          A.   -- trying to say here.       I am not him.     I

     10    can't really comment on what he's -- he's saying.

     11          Q.   You were doing suspicious order monitoring

     12    during this period for the CVS Indiana distribution

     13    center.

     14               And are you aware of any SOM model other than

     15    the IRR algorithm we have talked about today?

     16          A.   I can't remember.      I can't remember.

     17          Q.   Do you think there might have been another

     18    SOM model that you just don't remember about?

     19          A.   I remember the -- the IRR.

     20          Q.   Okay.    And that was a SOM model?

     21               MR. DELINSKY:     Object to form.

     22               THE WITNESS:     I don't know what the language

     23    he is -- is using.

     24          Q.   In November of '13, Mr. Baker was gone,

     25    correct?

    Golkow Litigation Services                                             Page 223
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further225Confidentiality
                                                           of 262. PageID #: 229169
                                                                               Review

      1           A.   I believe so.

      2           Q.   Aaron Burtner was gone, correct?

      3           A.   Yes.

      4           Q.   It was you, and you think it might have been

      5    Gary Millikan doing SOM?

      6           A.   With the assistance of pharma compliance.

      7           Q.   And pharma compliance would provide -- what

      8    did you say -- one person?

      9           A.   Yes.

     10           Q.   And would they work for you or would you

     11    report to them?

     12           A.   That, I -- I don't exactly remember a

     13    reporting tier of any sort.

     14           Q.   They were there to help shepherd in the new

     15    system, gather all of the data for the new system or

     16    no?    They were there to do separate SOM?

     17                MR. DELINSKY:    Object to form.

     18                THE WITNESS:    I'm not for sure of their -- of

     19    their reasoning for being there.         I know they were

     20    there and they watched over and helped me with what I

     21    did.

     22           Q.   Okay.   He says in this -- this sentence, "Any

     23    order that is flagged by our SOM model" -- I want you

     24    to assume that is the IRR.        That's only thing that

     25    makes sense.       -- "or questioned by our DC team is

    Golkow Litigation Services                                             Page 224
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further226Confidentiality
                                                           of 262. PageID #: 229170
                                                                               Review

      1    initially identified as an order of interest and has

      2    additional due diligence conducted by the SOM team."

      3               Did I read that correctly?

      4               MR. DELINSKY:     Object to form.

      5               THE WITNESS:     Yes.

      6          Q.   That's not true, is it?

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:     I know -- I know what I did.

      9    What was flagged, I did my due diligence.

     10          Q.   And when you did your due diligence, you

     11    printed it and put it in a file?

     12               MR. DELINSKY:     Object to form.      Misstates the

     13    testimony.

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 225
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further227Confidentiality
                                                           of 262. PageID #: 229171
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 226
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further228Confidentiality
                                                           of 262. PageID #: 229172
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 227
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further229Confidentiality
                                                           of 262. PageID #: 229173
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 228
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further230Confidentiality
                                                           of 262. PageID #: 229174
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 229
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further231Confidentiality
                                                           of 262. PageID #: 229175
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 230
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further232Confidentiality
                                                           of 262. PageID #: 229176
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20               MR. DELINSKY:     Dan, I just want to let you

     21    know that I have five minutes of questions, so if you

     22    want reserve.

     23               MR. GOETZ:     I'm not sure that's -- that's not

     24    rule.    If you go five minute, I get five.

     25               MR. DELINSKY:     Okay.    Well, I hope you don't

    Golkow Litigation Services                                             Page 231
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further233Confidentiality
                                                           of 262. PageID #: 229177
                                                                               Review

      1    make me miss my plane.

      2               MR. GOETZ:     I'm doing my best, but --

      3          Q.   Are you aware that the DEA believed that the

      4    Indianapolis distribution center did not have a SOM

      5    system in place?

      6               MR. DELINSKY:     Object to form.

      7               THE WITNESS:     I was not.

      8          Q.   You were not aware of that?

      9               Does that surprise you?

     10          A.   Considering I was doing SOM.

     11          Q.   You would think they would have told you,

     12    though, right?

     13               That's an email from Mark Nicastro to Dan

     14    Gillen.    And it appears to recap a call in the -- the

     15    second paragraph says, "Regarding our call today.             I

     16    am disappointed to hear that you do not believe we

     17    have a suspicious order monitoring program in place,

     18    but I can assure you that we do."

     19               No one ever told you that that's what the DEA

     20    thought?

     21          A.   No, not that I recall.

     22          Q.   You were doing suspicious order monitoring at

     23    this time, right?

     24          A.   Yes.

     25

    Golkow Litigation Services                                               Page 232
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further234Confidentiality
                                                           of 262. PageID #: 229178
                                                                               Review

      1               (CVS-Helfrich-27 was marked for

      2    identification.)

      3          Q.   Are you aware that the DEA had serious

      4    concerns with the amount of -- I'm showing you Exhibit

      5    27 -- with the amount of hydrocodone that was being

      6    shipped by your distribution center?

      7               MR. DELINSKY:     Object to form.

      8               THE WITNESS:     Not that I can recall.

      9          Q.   Excuse me?

     10          A.   Not that I can recall.

     11          Q.   No one ever told you about that, either?

     12          A.   Not that I can recall.

     13          Q.   Are you aware that the DEA issued a letter of

     14    admonishment related to the SOM program that you were

     15    working at for this period, for the Indianapolis

     16    distribution center?

     17          A.   Not that I can recall.

     18               (CVS-Helfrich-29 was marked for

     19    identification.)

     20          Q.   Okay.    I'm going to show you CVS 29.

     21               This relates to the 2013 investigation.

     22               Can you read paragraph 1, please?

     23          A.   Failure to design and maintain a system to

     24    detect suspicious and report suspicious orders for

     25    Schedule III through V Controlled Substances as

    Golkow Litigation Services                                             Page 233
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further235Confidentiality
                                                           of 262. PageID #: 229179
                                                                               Review

      1    required by Title 21, United States Code (USC) 821,

      2    Title 21 USC 823(e)(1), and Title 21 Code of Federal

      3    Regulations, (CFR) 1301.74 (b) in violation of the

      4    Title 21 USC 842(a)(5), in that CVS failed to detect

      5    orders that should have been identified as suspicious

      6    for retail locations in Vincennes and Kokomo,

      7    Indiana.

      8          Q.   No one ever made you aware of that, that the

      9    DEA found that while you were working in the SOM at

     10    the Indianapolis distribution center, that it had

     11    significant problems?

     12               No one ever told you that?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:     Not that I can remember.

     15          Q.   Does that disappoint you?

     16               MR. DELINSKY:     Object to form.

     17               THE WITNESS:     I trust if it was something

     18    that I needed to know, I would have -- I would --

     19          Q.   I'm asking if --

     20               MR. DELINSKY:     Let her finish, Dan.

     21               THE WITNESS:     -- I would be informed.

     22          Q.   Does the finding that the DEA issued a letter

     23    of admonishment partially related to the period while

     24    you were there doing SOM, does that disappoint you?

     25               MR. DELINSKY:     Object to form.

    Golkow Litigation Services                                             Page 234
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further236Confidentiality
                                                           of 262. PageID #: 229180
                                                                               Review

      1               THE WITNESS:     I've only seen this for the

      2    first time.     I can't really comment on the document,

      3    but I -- I have not seen.

      4          Q.   You have no opinion?

      5               (CVS-Helfrich-23 was marked for

      6    identification.)

      7               (CVS-Helfrich-24 was marked for

      8    identification.)

      9          Q.   I'm going to show you Exhibit 23 and 24.

     10               I'm only going ask you a couple of brief

     11    questions.

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 235
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further237Confidentiality
                                                           of 262. PageID #: 229181
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 236
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further238Confidentiality
                                                           of 262. PageID #: 229182
                                                                               Review

      1

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14          Q.   Right.    What you had been using, it was --

     15               (CVS-Helfrich-30 was marked for

     16    identification.)

     17               Let me show you Exhibit 30.

     18               MR. DELINSKY:     Ms. Helfrich, would you like a

     19    break or are you okay?

     20               MR. GOETZ:     We'll do this, and take a break.

     21    It will be two minutes.

     22               THE WITNESS:     Restroom.

     23          Q.   Do you see 8017?

     24          A.   Yes.

     25          Q.   Could you look at the next page, please?

    Golkow Litigation Services                                             Page 237
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further239Confidentiality
                                                           of 262. PageID #: 229183
                                                                               Review

      1               That's a letter from Elizabeth Ferguson?

      2          A.   Yes.

      3          Q.   Do you know who that is?

      4          A.   Yes, I believe I know her as Betsy.

      5          Q.   Okay.    And she is CVS's legal counsel?

      6          A.   Yes.

      7          Q.   And if you look at the front page of that

      8    letter, she is writing a letter to Mr. Gillen,

      9    correct?

     10          A.   Yes.

     11          Q.   And Mr. Gillen is the DEA person that

     12    actually audited the Indianapolis distribution center,

     13    correct?

     14          A.   I'm unsure of --

     15          Q.   In any event, this is her letter to him.

     16               And I want to read to you the third

     17    paragraph.     It says, "As we discussed in the closing

     18    interview, in the fall of 2013, CVS had just rolled

     19    out a new SOM system and had invested substantial

     20    resources to design and implement it."

     21               That's not true, is it?

     22          A.   I'm not --

     23               MR. DELINSKY:     Object to form.

     24               THE WITNESS:     I really can't comment on her

     25    letter.    I don't know what she is meaning.

    Golkow Litigation Services                                             Page 238
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further240Confidentiality
                                                           of 262. PageID #: 229184
                                                                               Review

      1          Q.   Is that --

      2          A.   The context.

      3          Q.   Is that true?

      4               Based upon what you know about the CVS SOM

      5    system and when it was rolled out, and when it was

      6    implemented, and when the new one was in your period

      7    there, is that -- is that statement, that in the fall

      8    of '13, CVS had just rolled out a new SOM system; is

      9    that true?

     10          A.   Again, I'm not -- I'm not Betsy.         I don't

     11    exactly know what she's -- what she's saying in her

     12    wording.

     13          Q.   Is it correct?

     14               Go back to the rollout page, please?

     15               Go back to Exhibit 30, 23 or 24.

     16               Go back to Exhibit 23, please.

     17          A.   Yes.

     18          Q.   That page clearly says the first time this

     19    system goes live in any distribution center was March

     20    3rd of '14, correct?

     21          A.   It looks like --

     22          Q.   And --

     23          A.   -- an outline.

     24          Q.   Look at Exhibit 24.

     25               By September 15, 2014, 14 of the 19 DCs are

    Golkow Litigation Services                                             Page 239
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further241Confidentiality
                                                           of 262. PageID #: 229185
                                                                               Review

      1    on the new system.

      2                So even by then, the system is not fully

      3    functional in all of the DCs, is it?

      4           A.   Seeing this, I can't really comment on it.

      5           Q.   You can comment on this:       When she says, "In

      6    the fall of 2013, CVS had just rolled out a new SOM

      7    system and had invested substantial resources to

      8    design and implement it."

      9                MR. DELINSKY:    Object to form.

     10    BY MR. GOETZ:

     11           Q.   Either we don't know about what system she

     12    talking about -- she is talking about, or this is a

     13    misstatement.

     14                MR. DELINSKY:    Object to form.

     15                THE WITNESS:    Again, I can't comment on what

     16    Betsy is trying -- what she is saying or trying to

     17    say.

     18           Q.   Based on the facts that you know, is that

     19    accurate, that statement?

     20                MR. DELINSKY:    Object to form.

     21    BY MR. GOETZ:

     22           Q.   "As we discussed in the closing interview, in

     23    the fall of 2013, CVS had just rolled out a new SOM

     24    system and had invested substantial resources to

     25    design and implement it."

    Golkow Litigation Services                                             Page 240
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further242Confidentiality
                                                           of 262. PageID #: 229186
                                                                               Review

      1               MR. DELINSKY:     Object to form.      Asked and

      2    answered.

      3               THE WITNESS:     I can't comment on what

      4    Betsy --

      5          Q.   And this letter is dated January 22 of '15.

      6               I don't know for sure because we have not

      7    gotten the documents, but I do know as of 9-15-2014,

      8    four months earlier, it still wasn't operational in

      9    five DCs.

     10               It might not have even been fully operational

     11    when she is writing this letter two years after the

     12    fact, correct?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:     That I can't comment on it.        I

     15    don't --

     16          Q.   Because you don't want to say that it was not

     17    an accurate letter?

     18               MR. DELINSKY:     Object to form.

     19               This has been asked and answered several

     20    times.

     21               MR. GOETZ:     I will reserve the rest of my

     22    time plus your time when you question.

     23               MR. DELINSKY:     Well, no, Dan.      I don't think

     24    that's right.

     25               MR. GOETZ:     That's how it reads.

    Golkow Litigation Services                                             Page 241
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further243Confidentiality
                                                           of 262. PageID #: 229187
                                                                               Review

      1               MR. DELINSKY:     Let me see it.      I don't

      2    believe that is correct.

      3               MR. GOETZ:     We can take a break.      We'll show

      4    it to you.

      5               MR. DELINSKY:     All right.     Five minutes.

      6               THE VIDEOGRAPHER:      We are off record at

      7    5:00 p.m.

      8               (There was a brief recess.)

      9               THE VIDEOGRAPHER:      We're back on the record

     10    at 5:09 p.m.

     11

     12                              EXAMINATION

     13    BY MR. DELINSKY:

     14          Q.   Ms. Helfrich, have you ever been deposed

     15    before?

     16          A.   No.

     17          Q.   Have you ever seen a deposition before?

     18          A.   No.

     19          Q.   Have you ever testified in court before?

     20          A.   No.

     21          Q.   Also, has this deposition been a brand new

     22    experience for you?

     23          A.   Yes.

     24          Q.   Were you nervous for this deposition?

     25          A.   Very, yes.

    Golkow Litigation Services                                             Page 242
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further244Confidentiality
                                                           of 262. PageID #: 229188
                                                                               Review

      1           Q.   Have you ever been nervous -- have you stayed

      2    nervous throughout the deposition today?

      3           A.   Yes.

      4           Q.   Do you suffer any physical symptoms of your

      5    nervousness?

      6           A.   My neck gets real red.

      7           Q.   Are you nervous now?

      8           A.   Yes.

      9           Q.   Mr. Goetz put a lot of questions to you,

     10    correct?

     11           A.   Yes.

     12           Q.   Do you feel that you answered all of the

     13    questions that Mr. Goetz put to you perfectly?

     14           A.   No.

     15           Q.   Was it difficult for you to answer a lot of

     16    his questions?

     17           A.   Yes.

     18           Q.   Was this process of testifying hard for

     19    you?

     20           A.   Yes.

     21           Q.   Is that because you're nervous?

     22           A.   Yes.

     23           Q.   Is it because this is new for you?

     24           A.   Yes.   Yes.

     25           Q.   Were many of the questions confusing for you

    Golkow Litigation Services                                             Page 243
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further245Confidentiality
                                                           of 262. PageID #: 229189
                                                                               Review

      1    and just hard to answer?

      2           A.   Yes.

      3           Q.   Did you still do your best to answer

      4    Mr. Goetz's questions as best and as honestly as you

      5    were capable of doing in the moment?

      6           A.   Yes.

      7           Q.   You were a SOM analyst for CVS many years

      8    ago, correct?

      9           A.   Yes.

     10           Q.   How many years ago?

     11           A.   Like, five or so.

     12           Q.   Do you remember all of the details of what

     13    you did as a SOM analyst?

     14           A.   No.

     15           Q.   Is that because it was about five years

     16    ago?

     17           A.   Yes.

     18           Q.   Is it hard to remember -- is it hard for you

     19    to remember work that you have not performed for four

     20    or five years?

     21           A.   Yes.

     22           Q.   Do you remember all of the details of the

     23    various documents and reports that related to your SOM

     24    work?

     25           A.   No.

    Golkow Litigation Services                                             Page 244
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further246Confidentiality
                                                           of 262. PageID #: 229190
                                                                               Review

      1          Q.   Do you remember the details of how you read

      2    the IRR?

      3          A.   No.

      4          Q.   Do you recall that you understood the IRR at

      5    the time you were a SOM analyst?

      6               MR. GOETZ:     Objection.

      7          Q.   I'll rephrase the question.

      8               Ms. Helfrich, do you recall whether at the

      9    time you were a SOM analyst you felt you understood

     10    the IRR?

     11          A.   Yes.

     12          Q.   Did you understand the IRR at the time that

     13    you were a SOM analyst?

     14          A.   I believe so, yes.

     15          Q.   Do you have general memory of how you went

     16    about your work as a SOM analyst?

     17          A.   Yes.

     18          Q.   Do you remember whether you reviewed all of

     19    the orders that CVS's system flagged?

     20          A.   Yes.

     21          Q.   When you were a SOM analyst, did you always

     22    review all of the orders that the system flagged?

     23          A.   Yes.

     24          Q.   Ms. Helfrich, do you remember whether you

     25    conducted due diligence on flagged orders that you

    Golkow Litigation Services                                             Page 245
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further247Confidentiality
                                                           of 262. PageID #: 229191
                                                                               Review

      1    believed was necessary?

      2          A.   Yes.

      3               MR. GOETZ:     Objection.

      4          Q.   When you were a SOM analyst, did you always

      5    conduct the due diligence that you believed was

      6    necessary?

      7          A.   Yes.

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 246
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further248Confidentiality
                                                           of 262. PageID #: 229192
                                                                               Review

      1

      2

      3

      4          Q.   Do you remember whether you worked hard in

      5    reviewing the orders that CVS's SOM system flagged?

      6          A.   Yes.

      7          Q.   Did you work hard in reviewing the orders

      8    that the system flagged?

      9          A.   Yes, I did.

     10          Q.   How hard did you work?

     11          A.   Very hard.

     12          Q.   Is it fair to say that you spilled blood,

     13    sweat and tears on this?

     14               MR. GOETZ:     Objection.

     15               THE WITNESS:     And then some.

     16          Q.   How early in the day would you get to the

     17    office to begin your review?

     18          A.   3:00 a.m., at times at 4:00 a.m.

     19          Q.   Did it depend on the day?

     20          A.   It did, yeah.

     21          Q.   Were you able to review all of the orders

     22    flagged by the SOM system each day?

     23          A.   Yes.

     24          Q.   Was there ever a day when you were unable to

     25    review all of the flagged orders?

    Golkow Litigation Services                                             Page 247
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further249Confidentiality
                                                           of 262. PageID #: 229193
                                                                               Review

      1          A.   No.

      2          Q.   When you were a SOM analyst, did you always

      3    have access to all of the information that you

      4    believed you needed --

      5          A.   Yes.

      6          Q.   -- to thoroughly review the orders that the

      7    SOM system flagged?

      8          A.   Yes.

      9          Q.   Did you ever let an order ship that you were

     10    concerned might be suspicious?

     11          A.   No.

     12          Q.   Did you ever let an order ship that you

     13    believed might be misused?

     14               UNIDENTIFIED SPEAKER:       Objection.

     15               THE WITNESS:     No.

     16          Q.   Did you ever let an order ship that you

     17    believed had an illegal purpose?

     18               UNIDENTIFIED SPEAKER:       Objection.

     19               THE WITNESS:     No.

     20          Q.   Did you ever let an order ship that you

     21    believed might be diverted?

     22               UNIDENTIFIED SPEAKER:       Objection.

     23               THE WITNESS:     No.

     24          Q.   Did CVS ever let an order ship that you had

     25    concerns about?

    Golkow Litigation Services                                             Page 248
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further250Confidentiality
                                                           of 262. PageID #: 229194
                                                                               Review

      1          A.   Not that I can recall.

      2          Q.   To your knowledge, did you let an order ship

      3    that was suspicious in nature?

      4               UNIDENTIFIED SPEAKER:       Objection.

      5               THE WITNESS:     Not that I can recall, no.

      6               MR. DELINSKY:     I have nothing further.

      7                            RE-EXAMINATION

      8    BY MR. GOETZ:

      9          Q.   Ms. Helfrich --

     10          A.   Uh-huh.

     11          Q.   -- I'm going to hand you Exhibit 43.          I've

     12    already given you this.        It is in the record, but you

     13    just talked about how hard you worked and you would

     14    get there at 3:00 in the morning, correct?

     15          A.   At times.

     16          Q.   Okay.

     17          A.   3:00 a.m.    It varies.

     18          Q.   We spent a lot of time today looking at an

     19    IRR from August 30, 2013, correct?

     20          A.   Yes.

     21          Q.   And so for that time period, actually looks

     22    like you worked -- the most hours you ever did, you

     23    worked 39.98 hours one week and 40 hours the next.

     24               Is that what you were talking about your

     25    blood, sweat and tears?

    Golkow Litigation Services                                             Page 249
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further251Confidentiality
                                                           of 262. PageID #: 229195
                                                                               Review

      1          A.   Considering -- yes.

      2          Q.   And in fact, in August 9th of '13, you worked

      3    34 hours one week and 27 the next.

      4               That's what you were talking about your

      5    blood, sweat and tears?

      6          A.   When was it?

      7          Q.   August the 9th, 2013, that pay period.

      8          A.   I can't recall when I went full time, but,

      9    yes, I -- yes.

     10          Q.   Those were the long hours that you were

     11    talking about.

     12               Could you go back to exhibit 2, please?

     13               It's the large document, probably on the

     14    bottom.

     15          A.   Okay.    Yes.

     16          Q.   And you just -- can you go to 10693, please?

     17               And you just testified you conducted due

     18    diligence on all SOM system flagged orders that you

     19    believed was necessary, correct?

     20               MR. DELINSKY:     Object to form.

     21               THE WITNESS:     Yes.

     22          Q.   Tell me what due diligence would be necessary

     23    for this order.

     24          A.   I don't -- being since it was so long ago and

     25    not being in the -- I don't -- I don't remember.

    Golkow Litigation Services                                             Page 250
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further252Confidentiality
                                                           of 262. PageID #: 229196
                                                                               Review

      1          Q.   Tell me -- tell me whether or not extra due

      2    diligence would be necessary on this order.

      3               MR. DELINSKY:     Object to form.      Asked and

      4    answered.

      5               THE WITNESS:     I don't -- I don't remember.

      6          Q.   So tell me, did do you additional due

      7    diligence on this order?        Looking at it now, can you

      8    tell me?

      9          A.   I don't remember.

     10          Q.   So when you testified that you did additional

     11    due diligence on all orders that were necessary, what

     12    was that based on?

     13               MR. DELINSKY:     Object to form.

     14               THE WITNESS:     From what I can remember.        I

     15    would review the IRR.       That's considered due

     16    diligence.

     17          Q.   Okay.    So, reviewing the IRR is -- is, in

     18    your mind, due diligence, correct?

     19          A.   Yes.    Yes.

     20          Q.   But as you sit here today, you can't tell me

     21    what one of those numbers on that IRR mean, can you?

     22               MR. DELINSKY:     Object to form.

     23               THE WITNESS:     But the IRR report that I saw

     24    and populated into an Excel spreadsheet looked -- it

     25    would look different than this.

    Golkow Litigation Services                                              Page 251
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further253Confidentiality
                                                           of 262. PageID #: 229197
                                                                               Review

      1           Q.   Well, what -- what -- what numbers were on

      2    the IRR spreadsheet that was populated then?            I mean,

      3    it's the same -- same data, but tell me what was on

      4    there that -- that you knew what it meant.

      5           A.   I don't remember.

      6           Q.   Okay.   And so, when you say -- I'm just

      7    trying to figure out when you say, "I did -- every

      8    order that needed additional due diligence, I did it,"

      9    but you have no idea -- we have no facts what that is

     10    based upon other than you just saying, "I put my

     11    blood, sweat and tears into it and I did it"?

     12                MR. DELINSKY:    Object to form.

     13                THE WITNESS:    I don't remember.

     14           Q.   Not only do you not know what those numbers

     15    mean, you can't tell me how they're calculated, can

     16    you?

     17                MR. DELINSKY:    Object to form.      Asked and

     18    answered.

     19                THE WITNESS:    I don't remember.

     20           Q.   And so as you sit here today, you can't tell

     21    me whether or not that order is an order that I would

     22    -- you would do additional due diligence on, or that

     23    order is an order that you would say, "I looked at it,

     24    that's my due diligence, I don't need to do anything

     25    else"?

    Golkow Litigation Services                                             Page 252
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further254Confidentiality
                                                           of 262. PageID #: 229198
                                                                               Review

      1               You have no idea what you would do with that

      2    order, do you?

      3               MR. DELINSKY:     Object to form.      Asked and

      4    answered.

      5               THE WITNESS:     I don't remember.

      6          Q.   Okay.    You have no idea, do you?

      7               MR. DELINSKY:     Same objection.

      8          Q.   The only thing you remember is that you did

      9    appropriate due diligence, but you don't remember any

     10    facts surrounding that?

     11               MR. DELINSKY:     Object to form.

     12               THE WITNESS:     It was long ago.      I don't

     13    remember.

     14          Q.   I understand it was long ago.

     15               You were the last person reviewing suspicious

     16    orders in CVS Indiana, correct?

     17               MR. DELINSKY:     Object to form.

     18          Q.   Correct?

     19          A.   Yes.

     20          Q.   You are it?     You are the person we have to

     21    come to, to get this information from.

     22               MR. DELINSKY:     I don't believe there is a

     23    question, Dan.

     24          Q.   There is a question.

     25               Is there anybody else that was there in March

    Golkow Litigation Services                                             Page 253
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further255Confidentiality
                                                           of 262. PageID #: 229199
                                                                               Review

      1    of '14 when this system transferred to Rhode Island,

      2    that was full-time reviewing suspicious orders other

      3    than you?

      4          A.   Full-time?     Just me.

      5          Q.   Just you.    And so, if you can't give us the

      6    information, do you know anybody that can?

      7          A.   I had help from Gary Millikan.

      8          Q.   Okay.

      9          A.   But it was so long ago.

     10          Q.   And I just want the record to be clear:            Over

     11    a ten-month period or 11-month period in 2013, we have

     12    evidence that CVS did due diligence beyond what is

     13    shown on the IRR for one order, for pharmacies in

     14    Cuyahoga and Summit County.        One order.

     15               Do you have any reason to dispute that?

     16               MR. DELINSKY:     Object to form.      Object.

     17    Asked and answered.

     18               THE WITNESS:     I don't remember.

     19          Q.   Is that a no?

     20               Do you have any reason to dispute it?          I

     21    don't remember of -- you either have facts or you

     22    don't have facts.

     23               MR. DELINSKY:     Same objections.

     24               THE WITNESS:     I don't remember.

     25          Q.   I don't understand what that means.          I'm

    Golkow Litigation Services                                             Page 254
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further256Confidentiality
                                                           of 262. PageID #: 229200
                                                                               Review

      1    asking you:     Do you have any evidence to dispute it?

      2               MR. DELINSKY:     Object to form.      Objection.

      3    Asked and answered.

      4               THE WITNESS:     I don't remember.

      5          Q.   As you sit here today, do you have any

      6    evidence to dispute that CVS investigated one order

      7    for the CT-1 pharmacies outside of the IRR in 2013?

      8               MR. DELINSKY:     Object to form.      Objection.

      9    Asked and answered.

     10               THE WITNESS:     I don't remember.

     11          Q.   I don't understand what "I don't remember"

     12    means when I'm asking you if you have any evidence.

     13               You don't remember if you have evidence?

     14               MR. DELINSKY:     Objection.     Object to form.

     15               THE WITNESS:     Seems like you're asking me to

     16    recall.

     17          Q.   I'm asking you, as you sit here today, do you

     18    dispute that?     Today, as you sit here, do you dispute

     19    it?

     20               MR. DELINSKY:     Object to form.      Objection,

     21    asked and answered.

     22               THE WITNESS:     It's been many years.       I just

     23    don't remember.

     24               MR. GOETZ:     Thank you, Ms. Helfrich.

     25               THE VIDEOGRAPHER:      We are off the record at

    Golkow Litigation Services                                              Page 255
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further257Confidentiality
                                                           of 262. PageID #: 229201
                                                                               Review

      1    5:26 p.m.

      2

      3

      4

      5

      6

      7

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 256
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further258Confidentiality
                                                           of 262. PageID #: 229202
                                                                               Review

      1
      2                       CERTIFICATE
      3
      4
      5                      I HEREBY CERTIFY that the
           witness was duly sworn by me and that the
      6    deposition is a true record of the
           testimony given by the witness.
      7
                           It not was requested before
      8    completion of the deposition that the
           witness, SHAUNA HELFRICH, have the
      9    opportunity to read and sign the
           deposition transcript.
     10
     11
                    __________________________________
     12             Kimberley Ann Keene
                    Certified Reporter
     13             Notary Public
                    Dated:    January 17, 2019
     14
     15
     16
                           (The foregoing certification
     17    of this transcript does not apply to any
     18    reproduction of the same by any means,
     19    unless under the direct control and/or
     20    supervision of the certifying reporter.)
     21
     22
     23
     24
     25

    Golkow Litigation Services                                             Page 257
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further259Confidentiality
                                                           of 262. PageID #: 229203
                                                                               Review

      1               INSTRUCTIONS TO WITNESS

      2

      3                    Please read your deposition

      4    over carefully and make any necessary

      5    corrections.     You should state the reason

      6    in the appropriate space on the errata

      7    sheet for any corrections that are made.

      8                    After doing so, please sign

      9    the errata sheet and date it.

     10                    You are signing same subject

     11    to the changes you have noted on the

     12    errata sheet, which will be attached to

     13    your deposition.

     14                    It is imperative that you

     15    return the original errata sheet to the

     16    deposing attorney within thirty (30) days

     17    of receipt of the deposition transcript

     18    by you.    If you fail to do so, the

     19    deposition transcript may be deemed to be

     20    accurate and may be used in court.

     21

     22

     23

     24

     25

    Golkow Litigation Services                                             Page 258
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further260Confidentiality
                                                           of 262. PageID #: 229204
                                                                               Review

      1                    -    -   -   -   -   -

                               E R R A T A

      2                    -    -   -   -   -   -

      3

      4    PAGE    LINE   CHANGE

      5    ____    ____   ____________________________

      6        REASON:    ____________________________

      7    ____    ____   ____________________________

      8        REASON:    ____________________________

      9    ____    ____   ____________________________

     10        REASON:    ____________________________

     11    ____    ____   ____________________________

     12        REASON:    ____________________________

     13    ____    ____   ____________________________

     14        REASON:    ____________________________

     15    ____    ____   ____________________________

     16        REASON:    ____________________________

     17    ____    ____   ____________________________

     18        REASON:    ____________________________

     19    ____    ____   ____________________________

     20        REASON:    ____________________________

     21    ____    ____   ____________________________

     22        REASON:    ____________________________

     23    ____    ____   ____________________________

     24        REASON:    ____________________________

     25

    Golkow Litigation Services                                             Page 259
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further261Confidentiality
                                                           of 262. PageID #: 229205
                                                                               Review

      1

      2             ACKNOWLEDGMENT OF DEPONENT

      3

      4                    I,_____________________, do

      5    hereby certify that I have read the

      6    foregoing pages, and that the same is

      7    a correct transcription of the answers

      8    given by me to the questions therein

      9    propounded, except for the corrections or

     10    changes in form or substance, if any,

     11    noted in the attached Errata Sheet.

     12

     13

     14     _______________________________________

     15       SHAUNA HELFRICH                       DATE

     16

     17

     18    Subscribed and sworn

           to before me this

     19    _____ day of ______________, 20____.

     20    My commission expires:______________

     21

           ____________________________________

     22    Notary Public

     23

     24

     25

    Golkow Litigation Services                                             Page 260
Case: Highly
      1:17-md-02804-DAP Doc #:-1978-8
               Confidential           Filed:to07/24/19
                                Subject         Further262Confidentiality
                                                           of 262. PageID #: 229206
                                                                               Review

      1                    LAWYER'S NOTES

      2    PAGE    LINE

      3    ____    ____   ____________________________

      4    ____    ____   ____________________________

      5    ____    ____   ____________________________

      6    ____    ____   ____________________________

      7    ____    ____   ____________________________

      8    ____    ____   ____________________________

      9    ____    ____   ____________________________

     10    ____    ____   ____________________________

     11    ____    ____   ____________________________

     12    ____    ____   ____________________________

     13    ____    ____   ____________________________

     14    ____    ____   ____________________________

     15    ____    ____   ____________________________

     16    ____    ____   ____________________________

     17    ____    ____   ____________________________

     18    ____    ____   ____________________________

     19    ____    ____   ____________________________

     20    ____    ____   ____________________________

     21    ____    ____   ____________________________

     22    ____    ____   ____________________________

     23    ____    ____   ____________________________

     24    ____    ____   ____________________________

     25    ____    ____   ____________________________

    Golkow Litigation Services                                             Page 261
